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         UNITED STATES DISTRICT COURT
            DISTRICT OF NEW JERSEY

                                                        Case Number: _________
JENNIFER L. KASILAG, LOUIS MELLINGER, JUDITH
M. MENENDEZ, JACQUELINE M. ROBINSON, and                DEMAND FOR JURY TRIAL
LINDA A. RUSSELL, et al.,

       Plaintiffs,

vs.

HARTFORD INVESTMENT FINANCIAL SERVICES,
LLC,

       Defendant.
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                                         COMPLAINT

       Plaintiff JENNIFER L. KASILAG (“Kasilag”), whose street address is 35 Oklahoma

Trail, Hopatcong, New Jersey, 07843, Plaintiff LOUIS MELLINGER (“Mellinger”), whose

street address is 28 Mockingbird, Hackettstown, New Jersey, 07840, Plaintiff JUDITH M.

MENENDEZ (“Menendez”), whose street address is 93 Eyland Avenue, Succasunna, New

Jersey, 07876, Plaintiff JACQUELINE M. ROBINSON (“Robinson”), whose street address is 45

Livingston Road, Morristown, New Jersey, 07960, and Plaintiff LINDA A. RUSSELL

(“Russell”), whose street address is 52 Birch Ridge Road, Blairstown, New Jersey 07825

(collectively, “Plaintiffs”) bring this action on behalf of and for the benefit of: the Hartford

Global Health Fund, the Hartford Conservative Allocation Fund, the Hartford Growth

Opportunities Fund, the Hartford Inflation Plus Fund, the Hartford Advisers Fund, and the

Hartford Money Market Fund (collectively, “the Hartford Funds” or “Funds”), and sue Hartford

Investment Financial Services, LLC (“Defendant” or “HIFSCO”), an indirect wholly-owned

subsidiary of Hartford Financial Services Group, Inc. (“HIG”), a company having shares listed

on the New York Stock Exchange.

                                         OVERVIEW

       This is a derivative action arising out of Defendant HIFSCO’s receipt of improper and

excessive management and/or adviser and distribution fees on Plaintiffs’ investments in Hartford

Funds in breach of its fiduciary duty under 36(b) of the Investment Company Act of 1940

(“ICA”), as amended, 15 U.S.C. § 80a-35(b) (hereinafter “Section 36(b)” or “§ 36(b)”). In order

to violate Section 36(b) of the ICA, the adviser must charge a fee that is “so disproportionately

large that it bore no reasonable relationship to the services rendered and could not have been the

product of arm’s length bargaining.”


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       Like roughly 90 million Americans who are planning ahead for retirement, Plaintiffs

have invested in mutual funds through their employer-sponsored Simple IRA program. As part

of that program, Plaintiffs have invested in Hartford Mutual Funds. Because of the excessive

management and distribution fees that HIFSCO charges and receives in connection with

Plaintiffs’ investments in the Funds, however, Plaintiffs’ (and all Hartford Fund shareholders’)

retirement benefits have been and continue to be diminished by staggering amounts.

       Plaintiffs’ investment returns are diminished because Defendant charges and collects two

fees that are excessive under § 36(b) of the ICA: (1) management and/or advisory fees and (2)

distribution fees. The management/advisory fees are excessive because Defendant sub-contracts

out the majority of the management services, for which the Funds pay a separate sub-advisory

fee, and then collects a “management fee” for itself for performing little, if any, work. In fact,

for one Fund, the management fee was up to 3.5 times the amount of the sub-advisory fee in

2009 alone.

       Distribution fees are fees that the Securities Exchange Commission (promulgated through

its Rule 12b-1, 17 C.F.R. § 270-12b-1) determined are to be used for marketing and distribution

services. The fees are to be used primarily to attract new fund shareholders in order to create

economies of scale that should allow advisers to provide the same quality and nature of services

at dramatically lower costs since the costs of managing a fund does not increase proportionately

with an increase in fund shareholders. Here, the distribution (or “12b-1”) fees are excessive

because, inter alia, they are not tied to any distribution activities and no economies of scale are

created or passed on to the Funds. As an example of HIFSCO’s 36(b) violations, its Class B

shareholders are paying 12b-1 fees despite the class having been closed to new investments since

September 30, 2009.




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       As explained in detail below, the management and 12b-1 distribution fees collected by

HIFSCO from the Plaintiffs are excessive and thus a breach of HIFSCO’s fiduciary duty under §

36(b). The criteria for determining a § 36(b) breach of fiduciary duty is not laid out in the

statute. Rather, the Supreme Court has set forth the following factors to use when determining

whether a fee is excessive:

             •   the nature and quality of services being paid for by the fund and its investors;

             •   whether the directors exercised a sufficient level of care and conscientiousness
                 in approving the investment advisory or management agreements;

             •   what fees are charged by the adviser to its other non-mutual fund customers, if
                 any;

             •   what fees other mutual fund complexes or funds within the same fund family
                 charge for similar services to similar mutual funds;

             •   whether economies of scale were passed to the funds and their investors or kept
                 by the investment adviser; and

             •   the costs of providing those services and the profitability of providing the
                 services.

       As discussed fully below, an examination of these factors demonstrates that the

management and 12b-1 distribution fees charged to the Hartford Funds breached, and continue to

breach, HIFSCO’s fiduciary duty to the Funds. The advisory and distribution fees received by

HIFSCO were so disproportionately large that they bore no reasonable relationship to the

services rendered, and could not have been the product of arm’s length bargaining, and were thus

unfair to Plaintiffs and the other shareholders of the Funds.

       The Plaintiffs seek to rescind the Investment Management Agreements1 and Distribution

Plans between Defendant and the Hartford Funds and to recover the total fees Defendant charged


1
 For the Hartford Money Market Fund, Plaintiff Kasilag only seeks to rescind the Distribution
Plan and to recover the 12b-1 distribution fees Defendant charged this Fund or, alternatively, to

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the Funds or, alternatively, to recover all improper compensation received by Defendant in

breach of its statutory fiduciary duty under Section 36(b).         The conduct complained of is

continuing in nature, and Plaintiffs seek recovery from the earliest possible period allowed by the

applicable statute of limitations through the date of final judgment. Plaintiffs allege:

I.      JURISDICTION AND VENUE

            1.    This Court has subject matter jurisdiction pursuant to 15 U.S.C. § 80a-43, 15

U.S.C. § 80a-35(b)(5), and 28 U.S.C. § 1331.

            2.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 and 15

U.S.C. § 80a-43 as Defendant inhabits or transacts business in this district, a substantial part of

the events or omissions that give rise to Plaintiffs’ claims occurred in this district, and Defendant

may be found in this district.

            3.    No pre-suit demand on the Boards of Directors of The Hartford Mutual Funds,

Inc. and The Hartford Mutual Funds II, Inc. (collectively the “Boards”), which are the Boards

overseeing the Hartford Funds, is required, as the demand requirement of Rule 23.1 of the

Federal Rules of Civil Procedure does not apply to actions or counts brought under § 36(b) of the

ICA.

            4.    All conditions precedent to suit have been performed, or have been satisfied or

waived.

II.     NATURE OF THE ACTION

            5.    This action is a derivative action brought by the Plaintiffs, for the benefit of, and

on behalf of, the Hartford Funds, pursuant to ICA § 36(b).



recover all improper compensation in connection therewith. She does not now challenge the
investment management advisory fees (even though they are excessive) for this Fund, since
HIFSCO has thus far reimbursed those fees to this Fund.

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           6.   Defendant HIFSCO derived and continues to derive revenues in the form of fees

for what it claims to be the provision of investment advisory services2 and distribution services

to the Hartford Funds. In particular, HIFSCO receives fee compensation from each of the Funds

and earns investment management fee revenues by allegedly providing investment advisory

services pursuant to investment management agreements with each Fund.             HIFSCO also

improperly derived and continues to derive revenue by charging excessive 12b-1 distribution

fees. HIFSCO is sued in this Complaint based on its misconduct related to its wrongful receipt

of fee income in violation of Section 36(b) of the ICA.

           7.   The Hartford Mutual Funds, Inc. (“HMF”) is an open-end management

investment company registered under the ICA, 15 U.S.C. § 80a-1, et seq., comprised of various

mutual funds, including the Hartford Global Health Fund, the Hartford Conservative Allocation

Fund, the Hartford Advisers Fund, the Hartford Inflation Plus Fund and the Hartford Money

Market Fund, each of which is a separate investment portfolio or mutual fund. See Table II.

           8.   The Hartford Mutual Funds II, Inc. (“HMFII”) is an open-end management

investment company registered under the ICA, 15 U.S.C. § 80a-1, et seq., comprised of various

mutual funds, including the Hartford Growth Opportunities Fund, each of which is a separate

investment portfolio or mutual fund. See Table II.

           9.   The Plaintiffs, who own shares of the Hartford Funds, allege that the investment

management fees charged to each of the Hartford Funds (except the Hartford Money Market

Fund) by HIFSCO, the Funds’ investment manager, breached HIFSCO’s § 36(b) fiduciary duty

to the Funds with respect to such compensation as demonstrated by, inter alia: (a) the nature and

quality of services provided to the Hartford Funds and their shareholders in exchange for the

2
  The terms “investment advisory services” and “investment management services” are used
interchangeably in this Complaint.

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investment management fees, including the fact that Defendant subcontracts out most of the

management services at a small fraction of the actual investment management fees charged to the

Funds; (b) the failure of the Hartford Funds’ Boards of Directors to exercise the requisite level of

care and conscientiousness in approving the investment management agreements and the fees

paid pursuant thereto; (c) the failure of Defendant to provide the Hartford Funds’ Boards of

Directors with all information reasonably necessary to evaluate the terms of the investment

management agreements with respect to each of the Funds; (d) the level of the fees as compared

to those charged by Defendant or its affiliates to institutional accounts, including non-mutual

fund customers; (e) the fees other mutual fund advisers charge for similar services to similar

mutual funds; (f) the failure of Defendant to adequately pass economies-of-scale savings on to

the Funds and their shareholders, and the retention of those economies-of-scale savings by

Defendant; and (g) Defendant’s costs and high profitability associated with providing investment

management services to the Hartford Funds.

           10.   The Plaintiffs further allege that HIFSCO improperly received Rule 12b-1

Distribution Fees3 (“12b-1 fees”) from the Funds and breached its fiduciary duty to the Funds

with respect to such compensation by, inter alia: (a) the nature and quality of the services

provided in exchange for the 12b-1 fees; (b) having produced few, if any, benefits (in the form of

economies-of-scale benefits or otherwise) for the Hartford Funds while generating significant

additional investment management fee revenue for HIFSCO; (c) Defendant’s failure to provide

3
  Securities and Exchange Commission (“SEC”) Rule 12b-1, 17 C.F.R. § 270.12b-1,
permits a fund to market and sell its shares with shareholder funds (Distribution Fees) out of
fund assets only in strict compliance with the rule. Distribution fees cover the costs associated
with the marketing and selling involved with running a mutual fund. These fees are deducted
from a mutual fund to compensate securities professionals for sales efforts and services provided
to the fund's investors. See SEC Proposes Measures to Improve Regulation of Fund Distribution
Fees and Provide Better Disclosure for Investors available at:
http://www.sec.gov/news/press/2010/2010-126.htm.

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 the Hartford Funds’ Boards of Directors with all information reasonably necessary to evaluate

 the Rule 12b-1 Distribution Plans and 12b-1 fees paid pursuant thereto; (d) the fees other mutual

 fund advisers charge for similar distribution services to similar mutual funds, and (e)

 Defendant’s costs and high profitability associated with providing distribution and marketing

 services to the Hartford Funds.

            11.    The allegations in this Complaint are predicated on publicly-available

 information, including, but not limited to, information contained in the public filings with the

 Securities and Exchange Commission (“SEC” or the “Commission”) of HMF and HMFII

 (“Hartford Disclosure Materials”), and on information and belief after a reasonable

 investigation.4

 III.   PARTIES

            12.    Plaintiff Mellinger owns shares and is therefore a security holder in the Hartford

 Growth Opportunities Fund and the Hartford Inflation Plus Fund.

            13.    Plaintiff Menendez owns shares and is therefore a security holder in the

 Hartford Advisers Fund.

            14.    Plaintiff Russell owns shares and is therefore a security holder in the Hartford

 Advisers Fund and the Hartford Growth Opportunities Fund.

            15.    Plaintiff Robinson owns shares and is therefore a security holder in the Hartford

 Advisers Fund and the Hartford Inflation Plus Fund.

 4
   It should be noted that in shareholder claims against mutual funds, plaintiffs generally lack the
 inside information necessary to allege their claims in detail because the facts are peculiarly
 within the possession and control of defendant. For example, internal information about the
 Boards’ fee-approval process and the costs that advisers incur to operate these funds is solely
 within Defendant’s possession. Additionally Plaintiffs have not attached to the Complaint all of
 the public filings upon which Plaintiffs relied herein. Upon request, however, Plaintiffs will
 provide the Court with copies.



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            16.   Plaintiff Kasilag owns shares and is therefore a security holder in the Hartford

 Conservative Allocation Fund, the Hartford Global Health Fund and the Hartford Money Market

 Fund.   For the Hartford Money Market Fund, Plaintiff Kasilag only challenges the 12b-1

 distribution fees and not the investment management fees at this time.

            17.   Defendant HIFSCO is the investment manager/adviser for each of the Hartford

 Funds. HIFSCO is incorporated in Delaware with its principal place of business in Simsbury,

 Connecticut. HIFSCO is an affiliate (indirect wholly-owned subsidiary) of Hartford Financial

 Services Group, Inc. (“HIG”) (together with its subsidiaries, the “Hartford” or “Company”),5 an

 insurance and financial services company having shares listed on the New York Stock Exchange.

 HIG, through its wholly-owned subsidiaries, provides a variety of investment management,

 administrative, and operational services for a large number of investment companies or mutual

 funds (the “Hartford Funds Complex”) and managed accounts, including HIG’s indirect wholly-

 owned subsidiary HIFSCO.6 See Table I.

            18.   Defendant HIFSCO is registered as an investment adviser under the Investment

 Advisers Act of 1940 (“the Investment Advisers Act”). HMF and HMFII, on behalf of each of

 the Funds, have each entered into an Investment Management Agreement with HIFSCO. The

 Investment Management Agreements provide that HIFSCO, subject to the supervision and

 approval of HMF’s and HMFII’s Boards of Directors, shall: (a) provide investment advice and

 5
   Plaintiffs refer to HIG, together with its subsidiaries and/or affiliates that perform a variety of
 investment management, administrative, and operational services to mutual funds and managed
 accounts, collectively as “Hartford” or the “Company,” which is also how Hartford refers to
 itself in its public filings.
 6
   The Hartford Funds Complex is composed of 88+ mutual funds, which are contained in the
 following five management investment companies registered under the ICA: the Hartford HLS
 Series Fund II, Inc., the Hartford Series Fund, Inc., the Hartford Income Shares Fund, Inc., the
 Hartford Mutual Funds, Inc. and the Hartford Mutual Funds II, Inc., each containing mutual
 funds. The mutual funds at issue in this Complaint are contained in the Hartford Mutual Funds,
 Inc. and the Hartford Mutual Funds II, Inc. See ¶¶7-8; Tables I and II.

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 recommendations to each fund, (b) continuously supervise the investment program of each fund

 and determine what securities should be bought and sold by each fund, (c) arrange for the

 purchase and sale of investments for each fund, and (d) provide economic and statistical data

 and/or other information as HIFSCO shall deem appropriate or as shall be requested by the

 Boards of Directors. Since 1997, HIFSCO has continuously been the primary investment adviser

 to the Hartford Funds and/or their predecessors which are included in HMF pursuant to an

 Investment Management Agreement, and since 2002 to the Hartford Funds included in HMFII.

 See Composite Ex. 1, comprised of the March 3, 1997 Investment Management Agreement

 between HIFSCO and HMF, as amended, in pertinent part on April 27, 2000, October 31, 2002,

 and May 26, 2004; as well as the November 1, 2009 Investment Management Agreement

 (collectively, “HMF HIFSCO Agreement”); see also Composite Ex. 2, comprised of the

 February 19, 2002 and the November 1, 2009 Investment Management Agreements between

 HIFSCO and HMFII (collectively, “HMFII HIFSCO Agreement”)7; see also Composite Ex. 3,

 comprised of the February 6, 2008 Expense Limitation Agreement between HMF and HMFII

 and HIFSCO, as amended and restated on November 1, 2008; November 1, 2009; and November

 1, 2010.

            19.   Defendant HIFSCO is also a registered broker-dealer and serves as the Hartford

 Funds’ principal underwriter and distributor. HIFSCO receives 12b-1 distribution fees from

 each of the Hartford Funds pursuant to Rule 12b-1 Distribution Plans (“Distribution Plan” or

 “Distribution Plans”) adopted by HMF and HMFII on behalf of the Funds. See Ex. 4, the August

 2, 2006 HMF Amended and Restated Distribution Plan (“HMF Distribution Plan”); Ex. 5, the

 August 2, 2006 HMFII Amended and Restated Distribution Plan (“HMFII Distribution Plan”).

 7
  The HMF HIFSCO Agreement and the HMFII HIFSCO Agreement are collectively referred to
 as the “Investment Management Agreements.”

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            20.    Defendant HIFSCO, as the underwriter, distributor, adviser, and control person

 of the Harford Funds received compensation from the Funds for providing investment

 management and other services to them. As such, Defendant HIFSCO owes fiduciary and other

 duties to the Plaintiffs and all shareholders of each of the Funds.

 IV.    BACKGROUND INFORMATION ABOUT THE INVESTMENT MANAGEMENT
        INDUSTRY AND THE PURPOSE OF SECTION 36(b)

            21.    A mutual fund is “typically created and managed by a pre-existing organization

 known as an investment adviser” that “generally supervises the daily operation of the fund and

 often selects affiliated persons to serve on the [fund’s] board of directors.” Daily Income Fund,

 Inc. v. Fox, 464 U.S. 523, 536 (1984)

            22.    Section 36(b) imposes a fiduciary duty on mutual fund investment managers

 (and their affiliates) with respect to the receipt of compensation. As early as 1935 Congress

 recognized that because “a typical [mutual] fund is organized by its investment adviser which

 provides it with almost all management services and because its shares are bought by investors

 who rely on that service, a mutual fund cannot, as a practical matter, sever its relationship with

 the advisor.” S. Rep. No. 91-184, p. 5 (1969). Therefore, “the forces of arm’s-length bargaining

 do not work in the mutual fund industry in the same manner as they do in other sectors of the

 American economy.” Id.

            23.    As a result in 1940, Congress enacted the ICA recognizing that:

                  The national public interest and the interest of investors are
                  adversely affected . . . when investment companies are organized,
                  operated [and] managed . . . in the interest of . . . investment
                  advisers . . . rather than in the interest of [shareholders] . . . or
                  when the investment companies . . . are not subjected to adequate
                  independent scrutiny.
 ICA § 1(b)(2), 15 U.S.C. § 80a-1(b)(1994). Accordingly, the ICA was designed to regulate and

 curb “abuses inherent in the structure of [the mutual fund industry],” Jones v. Harris Associates


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 L.P., 130 S.Ct. 1418, 1422 (2010) (quoting Daily Income Fund, 464 U.S. at 536), and to create

 standards of care applicable to investment advisers and their affiliates, such as Defendant.

             24.    By the 1960s, it had become clear to Congress that investment advisers to

 equity mutual funds were charging those funds excessive fees, particularly by not taking

 economies of scale into account. As a result, Section 36(b) was added to the ICA in 1970,

 (primarily to remedy excessive fees charged by mutual funds such as those owned by Plaintiffs),

 which created a federal cause of action for breach of fiduciary duty by investment advisers.

 Section 36(b) imposes a fiduciary duty on mutual fund investment managers (and their affiliates)

 with respect to the receipt of compensation for services.

             25.    Section 36(b) created a judicial remedy for breach of such fiduciary duty by

 authorizing litigation against investment advisers, their affiliates, and certain others by the SEC

 or by a security holder on behalf of the investment company with respect to payments made to

 such entities or persons by the investment company or by its security holders. Section 36(b)

 states, in pertinent part:

                   [T]he investment adviser of a registered investment company shall
                   be deemed to have a fiduciary duty with respect to the receipt of
                   compensation for services, or of payments of a material nature,
                   paid by such registered investment company, or by the security
                   holders thereof, to such investment adviser or any affiliated person
                   of such investment adviser. An action may be brought under this
                   subsection . . . by a security holder of such registered investment
                   company on behalf of such company, against such investment
                   advisers, or an affiliated person of such investment advisor . . . for
                   breach of fiduciary duty in respect to such compensation or
                   payments paid by such registered investment company or by the
                   security holders thereof to such investment adviser or person.
 ICA § 36(b), 15 U.S.C. § 80a-35(b).




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              26.    Further, notwithstanding requirements regarding the increased disinterestedness

 of the boards of directors,8 “Congress decided not to rely solely on the fund’s directors to assure

 reasonable adviser fees,” Daily Income Fund, 464 U.S. at 540, also adding a provision to Section

 36(b) that provides:

                    In any such action approval by the board of directors of such
                    investment company of such compensation or payments, or of
                    contracts or other arrangements providing for such compensation
                    payments, and ratification or approval of such compensation or
                    payments, or of contracts or other arrangements providing for such
                    compensation or payments, by the shareholders of such investment
                    company shall be given such consideration by the court as is
                    deemed appropriate under all the circumstances.
 ICA § 36(b)(2); 15 U.S.C. § 80a-35(b)(2) (emphasis added).

              27.    Congress also chose not to rely only the ability or willingness of a fund’s

 directors to prevent excessive fees and other abuses. Through Section 36(b), Congress gave

 shareholders a “unique right,” Daily Income Fund, 464 U.S. at 536, empowering them with the

 ability to be an independent check on an adviser’s fulfillment of its fiduciary duties and receipt

 of unfair fees. By enacting § 36(b), Congress provided shareholders with a means to redress

 breaches of the adviser’s fiduciary duty to the funds it manages and distributes while leaving the

 “ultimate responsibility for the decision in determining whether the fiduciary duty has been

 breached [] with the court.” S. Rep. 91-184, at 6.

              28.    Although on a shareholder-by-shareholder basis, the fees charged and received

 by HIFSCO may appear to be very small, the cumulative effect of the excessive fees charged

 cause a dramatic decrease in Plaintiffs’ investment returns over time.          Arthur Levitt, past

 Chairman of the SEC, was critical of what he called the “tyranny of compounding high costs:”



 8
     At least 40% of the Funds’ directors must be “disinterested” as defined in § 10 of the ICA.



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                  Instinct tells me that many investors would be shocked to know
                  how seemingly small fees can over time, create such drastic
                  erosion in returns . . . In the years ahead, what will mutual fund
                  investors say if they realize too late their returns have fallen hard
                  under the weight of compounding fees?
 Arthur Levitt, Jr., Inaugural Address: Costs Paid with Other People’s Money, Address at

 Fordham University School of Law (Nov. 3, 2000), 6 FORDHAM J. CORP. & FIN. L. 261, 259, 267

 (2001).

            29.    For example, assume that an employee with 35 years until retirement has a

 current 401(k) account balance of $25,000. If returns on investments in his account over the next

 35 years average 7 percent, and fees and expenses reduce their average returns by 0.5 percent,

 his account balance would grow to $227,000 at retirement, even if there were no further

 contributions to their account. However, if fees and expenses being withheld are 1.5 percent,

 their account balance would grow to only $163,000 at retirement. The 1 percent increase in fees

 and expenses caused his account balance to be reduced at retirement by a shocking 28 percent or

 $64,000. See the following table:




 See Department of Labor Publication “A Look at 401(k) Plan Fees,” available at

 http://www.dol.gov/ebsa/publications/401k_employee.html.




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            30.    Section 36(b) itself does not set forth a list of factors to be considered in

 determining whether an investment adviser, such as HIFSCO, has breached its fiduciary duty

 with respect to its receipt of compensation for services paid by a mutual fund such as any of the

 Hartford Funds. “Fiduciary duty” includes the duties of good faith, loyalty, and due care. A

 breach of fiduciary duty occurs “when a fiduciary permits an unreasonable or excessive fee to be

 levied on the fund,” or “when compensation to the adviser for his services is excessive, in view

 of the services rendered – where the fund pays what is an unfair fee under the circumstances.”

 Mutual Fund Amendments: Hearing Before the Subcomm. on the Commerce on Interstate and

 Foreign Commerce, Investment Company Act of 1940 and The Securities Exchange Act of

 1934, H.R. 11995, S. 2224, H.R. 13754, and H.R. 14737, 91st Cong. (1st Sess. 1969) (“1969

 Hearings”), at 189-90. Indeed, an advisor “may not overreach in the amount of his fee even

 though the other party to the transaction, in full possession of all the facts, does not believe the

 fee is excessive.” Id., December 17, 1969 Letter from the Investment Company Institute included

 with Mutual Funds Amendments, at 441; see also S. Rep. 91-184, pp. 15-16 (“the ultimate test,

 even if the compensation or payments are approved by the directors and stockholders, . . . will be

 whether the investment adviser has fulfilled his fiduciary duty to the mutual fund shareholders in

 determining the fee”) (emphasis added).

            31.    In Pepper v. Litton, 308 U.S. 295 (1939), Supreme Court Justice William O.

 Douglas (former SEC Chairman) further explained the fiduciary duty standard. He opined that

 fiduciaries’

                  dealings with the corporation are subjected to rigorous scrutiny and
                  where any of their contracts or engagements with the corporation is
                  challenged the burden is on the [fiduciary] not only to prove the
                  good faith of the transaction but also to show its inherent fairness
                  from the viewpoint of the corporation and those interested therein.
                  The essence of the test is whether or not under all the



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                  circumstances the transaction carries the earmarks of an arm’s
                  length bargain. If it does not, equity will set it aside . . . He who is
                  in such a fiduciary position cannot serve himself first and his
                  cestuis second . . . He cannot use his power for his personal
                  advantage and to the detriment of the stockholders and creditors no
                  matter how absolute in terms that power may be and no matter how
                  meticulous he is to satisfy technical requirements. For that power
                  is at all times subject to the equitable limitation that it may not be
                  exercised for the aggrandizement, preference, or advantage of the
                  fiduciary to the exclusion or detriment of the cestuis. Where there
                  is a violation of those principles, equity will undo the wrong or
                  intervene to prevent its consummation.
 Id. at 306-311 (emphasis added). In Jones, the United States Supreme Court held that the

 formulation of the concept of fiduciary duty stated in Pepper “expresses the meaning of the

 phrase ‘fiduciary duty’ in § 36(b) . . . .” 130 S.Ct. at 1427. Thus, by reaffirming Pepper, the

 Supreme Court incorporated its fiduciary duty standard into § 36(b) requiring both good faith in

 the negotiation process and a fair outcome.

            32.    Furthermore, independent directors have a duty to diligently bargain to ensure

 that the best possible deal is made on their corporation’s behalf.

 V.     INHERENT CONFLICT IN THE STRUCTURE OF MUTUAL FUNDS
        GENERALLY AS EXEMPLIFIED BY THE HARTFORD FUNDS COMPLEX

            33.    The relationship between investment advisers and mutual funds is fraught with

 potential conflicts of interest,” Burks v. Lasker, 441 U.S. 471, 481 (1979), and is “potentially

 incestuous.” Gartenberg v. Merrill Lynch Asset Mgmt., Inc., 694 F.2d 923, 929 (2d Cir. 1982).

            34.    Indeed, while mutual fund boards are supposed to be the “watchdogs” for the

 shareholders of the funds, noteworthy industry insiders have commented on the general failure of

 mutual fund boards to fulfill their responsibilities under the ICA.

            35.    For example, in Strougo v. BEA Assoc., 188 F. Supp. 2d 373, 383 (S.D.N.Y.

 2002), the court quoted the following comment made by Warren Buffett, famous investor and

 chairman of Berkshire Hathaway:


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                    I think independent directors have been anything but independent.
                    The Investment Company Act, in 1940, made these provisions for
                    independent directors on the theory that they would be the
                    watchdogs for all these people pooling their money. The behavior
                    of independent directors in aggregate since 1940 has been to
                    rubber stamp every deal that’s come along from management –
                    whether management was good, bad, or indifferent. Not negotiate
                    for fee reductions and so on. A long time ago, an attorney said that
                    in selecting directors, the management companies were looking for
                    Cocker Spaniels and not Dobermans. I’d say they found a lot of
                    Cocker Spaniels out there.
 Id. (citation omitted).

              36.    The conflicts in the inherent structure of mutual funds, including those at issue

 here, exemplify the concern raised in the preamble to the ICA that “investment companies are

 organized, operated and managed in the interest of investment advisers, rather than in the interest

 of shareholders.” Indeed, the goal of ICA § 36(b) is to empower shareholders to independently

 police whether investment advisers have fulfilled their fiduciary obligations.

              37.    Operating within this framework, the Hartford Funds Complex is also wrought

 with inherent structural conflicts.

              38.    The Hartford Funds Complex consists of dozens of mutual funds, all of which

 were conceived and started by Defendant or its affiliates. Defendant’s, or its affiliates’, purpose

 in starting, maintaining, and servicing mutual funds is to make a profit on the management,

 administrative, and shareholder services sold to the Funds for fee income to the service-

 providers.

              39.    The Hartford Funds Complex, like almost all other mutual fund complexes,

 operates under a single structure consisting of a group of related investment companies (the

 mutual funds themselves) that are owned by their shareholders and governed by a Board of

 Directors. See Table I. The mutual funds themselves, however, are basically corporate shells in

 that they have few or no employees. Rather, the mutual funds contract for all of the services they


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 need – including distribution of their securities, custodianship of their assets, auditing, servicing

 shareholder accounts, portfolio management, and day-to-day administration – all of which, in

 this case, are provided by or arranged for by Defendant and its affiliates.

            40.   Each of the services provided by Hartford through its various affiliates is the

 subject of separate contracts, each of which gives rise to a separate fee paid by the Funds. See

 e.g., Ex. 6: the February 8, 2007 Master Custodian Contract; Ex. 7: the February 1, 2006

 Transfer Agency and Service Agreement; Ex. 8: the February 6, 2008 Transfer Agency Fee

 Waiver Agreement; Ex. 9: the July 22, 1996 Principal Underwriting Agreement, as amended July

 22, 1997; Ex. 10: the January 3, 2000 Fund Accounting Agreement; and Ex. 11: the May 3, 2004

 Share Purchase Agreement.

            41.   While the Funds are charged a myriad of other fees, Plaintiffs’ Complaint is

 limited to the excessive investment management and 12b-1 fees charged by HIFSCO.

            42.   Under the terms of the HMF HIFSCO Agreement and the HMFII HIFSCO

 Agreement, Defendant HIFSCO provides two categories of services: investment management

 services and administrative services. See Composite Exs. 1 and 2. Although the Investment

 Management Agreements purport to include administrative services, it bears noting that the

 Funds’ Annual Reports include a separate line item for administrative services fees already paid

 by the Funds. Furthermore, HIFSCO cannot be performing many administrative services, given

 that, for example, for year ended October 31, 2010, the Inflation Plus Fund’s investment

 management fees were 188 times greater than the Fund’s administrative fees. Id.

            43.   Although investment managers typically provide various services, such as

 custodian, transfer agency and service, underwriting, and accounting, HIFSCO does not provide




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 these services to the Hartford Funds. The Funds contract directly with other entities for the

 provision of these services. See Exs. 6-11.

            44.    To the extent these services are included in the Investment Management

 Agreements, on information and belief, the administrative type services included are a very small

 percentage of the expenses incurred under these agreements, as transfer agency costs are

 typically by far the largest component of administrative costs but are provided to the Hartford

 Funds pursuant to a separate contract with Hartford Administrative Services Company

 (“HASCO”), a wholly-owned subsidiary of HIG.            See Ex. 8.    HASCO’s services include

 communications with each Hartford Fund’s shareholders as well as the preparation and

 distribution of reports, proxies, notices, confirmation of transactions, prospectuses, and tax

 information.     In the aggregate, various miscellaneous administrative items, aside from the

 transfer agency costs, do not account for more than three basis points9 (“bps”) of the average

 mutual fund’s advisory fee. See John P. Freeman, Stewart L. Brown and Steve Pomerantz,

 Mutual Fund Advisory Fees: New Evidence and a Fair Fiduciary Test, 61 OKLA. L. REV. 83,

 113, n. 104 (2008) (“Freeman, Brown & Pomerantz Study”), attached as Ex. 12.

            45.    When Hartford starts a new mutual fund, it not only contracts to provide all the

 services the fund needs, it also nominates and elects the members of the fund’s Board (including

 all “independent”10 Board members).

            46.    Each of the Hartford Funds is governed by a Board of Directors. These same

 individuals, including all independent board members, simultaneously serve on the Boards for

 9
   A basis point is a unit of measure used in finance to describe the percentage change in the value
 or rate of a financial instrument. One basis point is equivalent to 0.01% (1/100th of a percent) or
 0.0001 in decimal form. See Investopedia.com, available at:
 http://www.investopedia.com/ask/answers/05/basispoint.asp.
 10
    “Independent” board members are those who are not “interested persons” as defined under the
 1940 Act. See 15 U.S.C. § 80a-2(a).

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 each Fund overseeing all of the approximately 88 portfolios in the Hartford Funds Complex.11

 See Table I.

            47.    The Board members are compensated for their services with a fee that consists

 of an annual retainer component and a meeting fee component, as well as retirement benefits.

 For the fiscal year ending October 31, 2009, according to publicly-available information, the

 Board members for the funds in the Hartford Funds Complex received total compensation in the

 following amounts:

                  Lynn S. Birdsong             $190,000
                  Dr. Robert M. Gavin          $266,500
                  Duane E. Hill                $170,000
                  Sandra S. Jaffee             $164,500
                  William P. Johnston          $196,500
                  Phillip O. Peterson          $196,500
                  Lemma W. Senbet              $159,000
                  Lowndes A. Smith             $189,000

            48.    Lowndes A. Smith is an “interested” director by virtue of his prior position as a

 Hartford executive. David N. Levenson is also an “interested” director by virtue of his current

 position as a Hartford executive. Directors who are also employed by Hartford do not receive

 director compensation.

            49.    As discussed below, the excessive fees charged to each of the Hartford Funds

 (except for the Hartford Money Market Fund) by HIFSCO for the investment management

 services are so large that they breach HIFSCO’s fiduciary duty to the Funds with respect to such

 compensation, especially in light of the fact that HIFSCO has delegated virtually all of its duties




 11
   All Directors of the HMF and HMFII also hold corresponding positions with the Hartford
 Series Fund, Inc., the Hartford HLS Series Fund II, Inc., and the Hartford Income Shares Fund,
 Inc. overseeing the 88+ funds within the Hartford Fund Complex. See Table I. Mutual funds
 contained within the Hartford Series Fund, Inc., the Hartford HLS Series Fund II, Inc., and the
 Hartford Income Shares Fund, Inc. are not at issue in this Complaint.

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 to subcontractors at a fraction of HIFSCO’s fee, and when compared to the fees charged by

 Hartford to institutional accounts that bargain at arm’s length.

            50.     Likewise, the 12b-1 fees charged to the Hartford Funds breach HIFSCO’s

 fiduciary duty to the Funds with respect to such compensation because those fees provide few, if

 any, benefits to the Funds and their shareholders but, rather, serve as a means by which

 Defendant can extract additional management compensation and because those fees were not

 approved in accordance with applicable statutory and/or regulatory requirements.

 VI.    FACTORS GENERALLY RELEVANT TO A SECTION 36(b) CLAIM

            51.     “A court’s evaluation of an investment adviser’s fiduciary duty must take into

 account both procedure and substance.” Jones, 130 S.Ct. at 1429. The test for determining

 whether fee compensation paid to Defendant violates ICA § 36(b) is “essentially whether the fee

 schedule represents a charge within the range of what would have been negotiated at arm’s

 length in light of all the surrounding circumstances.” Gartenberg, 694 F.2d at 928.

            52.     In order to violate Section 36(b) of the ICA, the adviser must charge a fee that is

 “so disproportionately large that it bore no reasonable relationship to the services rendered and

 could not have been the product of arm’s length bargaining.” Jones, 130 S.Ct. at 1418 (quoting

 Gartenberg).

            53.     In the context of § 36(b) litigation, courts have historically considered, inter

 alia, the following factors (“Gartenberg Factors”):

                •   the nature and quality of services being paid for by the fund and its investors;

                •   whether the directors exercised a sufficient level of care and conscientiousness
                    in approving the investment advisory or management agreements;

                •   what fees are charged by the adviser to its other non-mutual fund customers, if
                    any;




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               •        what fees other mutual fund complexes or funds within the same fund family
                        charge for similar services to similar mutual funds;

               •        whether economies of scale were passed to the funds and their investors or kept
                        by the investment adviser; and

               •        the costs of providing those services and the profitability of providing the
                        services.

             54.        As set forth below, an examination of the Gartenberg Factors demonstrates that

 the fees charged to the Hartford Funds and their investors breached and continue to breach

 HIFSCO’s fiduciary duty to the Funds.                Indeed, HIFSCO’s receipt of the advisory and

 distribution fees were so disproportionately large that they bore no reasonable relationship to the

 services rendered, and could not have been the product of arm’s length bargaining, and were thus

 unfair to Plaintiffs and the other shareholders of the Funds.


        A.         THE NATURE AND QUALITY OF THE INVESTMENT MANAGEMENT
                   AND DISTRIBUTION SERVICES PERFORMED BY HIFSCO DO NOT
                   JUSTIFY HIFSCO’S FEE

                   1.        Investment Management Services

             55.        For investment management services, each of the Hartford Funds pays a

 monthly management fee to HIFSCO based on a stated percentage of the Fund’s average daily

 net asset value. As such, the investment management fees are not based on the services actually

 rendered or HIFSCO’s actual costs in providing services to the Hartford Funds.

             56.        Pursuant to the terms of the Investment Management Agreements between

 HIFSCO and the Funds, the duties of HIFSCO, as the investment adviser to the Hartford Funds,

 are to manage the portfolio of securities, to research securities, and to make the purchase, sale

 and hold decisions for each of the portfolios. See Composite Exs. 1 and 2.




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            57.    Rather than directly providing these investment management services, HIFSCO

 subcontracts with others to provide the services; and does so at a fraction of HIFSCO’s fee

 collected from each Hartford Fund.

            58.    Since 1997, HIFSCO has sub-contracted its investment management duties to

 either Wellington Management Company, LLP (“Wellington”)12, pursuant to an Investment Sub-

 Advisory Agreement, and/or to Hartford Investment Management Company (“HIMCO”)13,

 pursuant to an Investment Services Agreement, and subsequently an Investment Sub-Advisory

 Agreement.       See Composite Ex. 13: the HMF March 3, 1997 Investment Sub-advisory

 Agreement between HIFSCO and Wellington, as amended in pertinent part on April 28, 2000, as

 well as the October 1, 2009 Investment Sub-Advisory Agreement (“HMF Wellington

 Agreement”); Composite Ex. 14: the HMFII February 19, 2002 Investment Sub-advisory

 Agreement between HIFSCO and Wellington, as well as the October 1, 2009 Investment Sub-

 Advisory Agreement (“HMFII Wellington Agreement”); Composite Ex. 15: the HMF March 3,

 1997 Investment Services Agreement between HIFSCO and HIMCO, as amended in pertinent

 part on October 31, 2002 and August 1, 2007; as well as the October 1, 2009 Investment Sub-

 Advisory Agreement between HIFSCO and HIMCO (“HMF HIMCO Agreement”). See Table

 II.

            59.    According to The Funds’ Annual Reports, “HIFSCO has overall investment

 supervisory responsibility for the [Funds]” and “provides administrative personnel, services,

 equipment, facilities and office space for proper operation of the [Funds].”




 12
    Wellington provides sub-advisory services for the Hartford Global Health Fund, the Hartford
 Advisers Fund and the Hartford Growth Opportunities Fund.
 13
    HIMCO provides sub-advisory services for the Hartford Conservative Allocation Fund and the
 Hartford Inflation Plus Fund.

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            60.   The most recent Statement of Additional Information (“SAI”) for the Hartford

 Funds disclosed that “HIFSCO has the responsibility, subject to oversight by the [Hartford

 Funds’ Boards of Directors], to oversee the sub-advisers and recommend their hiring,

 termination, and replacement.” HIFSCO specifically will: “(a) set the applicable Fund’s overall

 investment strategies; (b) evaluate, select, and recommend sub-advisers to manage all or a part of

 the applicable Fund’s assets; (c) allocate and, when appropriate, reallocate the applicable Fund’s

 assets among multiple sub-advisers; (d) monitor and evaluate the investment performance of sub-

 advisers; and (e) implement procedures reasonably designed to ensure that the sub-advisers

 comply with the applicable Fund’s investment objective, policies, and restrictions.” Id. In other

 words, HIFSCO makes a one-time, initial determination regarding investment objectives and

 selects sub-advisers. Other than HIFSCO’s initial involvement, it provides minimal services to

 the funds and it charges its sub-advisers with providing the substantive investment advisory

 services to the funds.

            61.   Wellington is a sub-adviser to the Hartford Advisers Fund, the Hartford Growth

 Opportunities Fund and the Hartford Global Health Fund, and provides the day-to-day

 investment management for each of these Funds. Indeed, according to the HMF Wellington

 Agreement and the HMFII Wellington Agreement, it is Wellington that is charged with

 “evaluat[ing] and implement[ing] an investment program appropriate for each Portfolio” and

 “will make all determinations with respect to the investment of the assets for the Portfolios and

 the purchase or sale of portfolio securities, and shall take such steps as may be necessary to

 implement the same.” See Composite Exs. 13 and 14.

            62.   According to the SAI, Wellington, subject to the general supervision of the

 applicable HMF and HMFII’s Boards of Directors and HIFSCO, is responsible for (among other




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 things) the day-to-day investment and reinvestment of the assets of such Funds and furnishing

 each such Fund with advice and recommendations with respect to investments and the purchase

 and sale of appropriate securities for each Fund. The most recent Annual Reports for the

 Hartford Advisers Fund, the Hartford Growth Opportunities Fund and the Hartford Global

 Health Fund also state that “HIFSCO has contracted with Wellington under a sub-advisory

 agreement for the provision of day-to-day investment management services to the Fund in

 accordance with the Fund’s investment objective and policies.” As such, virtually all of the

 investment management services are performed by Wellington.

            63.   Further evidence that Wellington performs substantially all of the Funds’

 management/advisory services is demonstrated by the fact that when Vanguard Group, Inc.

 (“Vanguard”) retains Wellington as its investment advisor for the Vanguard funds, Vanguard

 does not get paid. Although Wellington provides Vanguard with substantially similar services as

 it provides for the Hartford          Funds, Vanguard does not           charge any investment

 advisory/management fee, much less one that is up to 3.5 times greater than the fee paid to

 Wellington.

            64.   HIMCO is a sub-adviser to the Hartford Inflation Plus Fund and the Hartford

 Conservative Allocation Fund, and provides the day-to-day investment management for this

 Fund. HIMCO is a wholly-owned subsidiary of HIG. Similar to Wellington, under the HMF

 HIMCO Agreement, “HIMCO shall evaluate and implement an investment program appropriate

 for each Portfolio” and “will make all determinations with respect to the investment of the assets

 for the Portfolios and the purchase or sale of portfolio securities, and shall take such steps as may

 be necessary to implement the same.” See Composite Ex. 15.




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            65.   With respect to the Hartford Inflation Plus Fund and the Hartford Conservative

 Allocation Fund, HIFSCO has entered into an investment services agreement with HIMCO for

 the provision of the day-to-day investment management services. Further, the Hartford Inflation

 Plus Fund and the Hartford Conservative Allocation Fund’s most recent Annual Reports further

 state that “HIFSCO has contracted with HIMCO under a sub-advisory agreement for the

 provision of day-to-day investment management services to the Fund in accordance with the

 Fund’s investment objective and policies.” As such, virtually all of the investment management

 services are performed by HIMCO.

            66.   Each of the Hartford Funds’ Prospectuses also provide that “the sub-advisers are

 responsible for the day-to-day portfolio management activities of the funds they sub-advise,

 including effecting securities transactions.”

            67.   HIFSCO’s fee schedule varies for each of the Hartford Funds. Each Fund pays

 a fee to HIFSCO, which subcontracts with Wellington and/or HIMCO at a fraction of HIFSCO’s

 fee. The Hartford Funds employ a declining rate structure, known as “fee breakpoints,” in which

 the percentage fee rate decreases in steps or at designated breakpoints as assets increase.

 Notably, in the case of Wellington, who is a for-profit independent sub-advisor, upon

 information and belief, HIFSCO negotiated at arm’s length for the lowest possible sub-advisory

 fee, which contains breakpoints at much lower levels than HIFSCO charged those Funds for its

 advisory services.

            68.   Virtually all of the portfolio management and investment management services

 required by the Funds are performed by Wellington and/or HIMCO and there is little, if any,

 work left to be done by HIFSCO.




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                  69.   Despite the fact that the sub-advisers provided the bulk of the investment

    advisory services to the Funds, in fiscal year 2009 alone, HIFSCO collected nearly $23 million

    in investment management fees from the Hartford Funds (see ¶154) paying its sub-advisers just a

    fraction of that fee:

                  HARTFORD FUNDS’ FEE BREAKDOWN PURSUANT TO THE SAI
                        (“M” refers to “Million” and “B” refers to “Billion”)

Hartford Fund            Investment         HIFSCO Fee Schedule             Sub-Advisor Fee Schedule
                          Services/      (annual rate based on average    (annual rate based on average
                        Sub-Advisory           daily net assets)                daily net assets)
                         Agreement
Hartford                 Wellington       First $500 million – 0.6900%     First $50 million – 0.2200%;
Advisers Fund                             Next $500 million – 0.6250%      Next $100 million – 0.1800%
                                           Next $4 billion – 0.5750%       Next $350 million – 0.1500%
                                           Next $5 billion – 0.5725%       Amt. over $500M – 0.1250%
                                           Amt. over $10B – 0.5700%

Hartford Growth          Wellington       First $100 million – 0.9000%;        All Assets – 0.2700%
Opportunities                             Next $150 million – 0.8000%
Fund                                      Next $4.75 billion – 0.7000%
                                            Next $5 billion – 0.6975%
                                           Amt. over $10B – 0.6950%


Hartford Inflation          HIMCO          First $500 million – 0.5500%        All Assets – At Cost
Plus Fund                                  Next $4.5 billion – 0.5000%
                                            Next $5 billion – 0.4800%
                                            Amt. over $10B – 0.4700%

Hartford Global          Wellington       First $500 million – 0.9000%     First $100 million – 0.4500%
Health Fund                               Next $500 million – 0.8500%      Next $400 million – 0.3500%
                                           Next $4 billion – 0.8000%       Amt. over $500M – 0.3000%
                                           Next $5 billion – 0.7975%
                                           Amt. over $10B – 0.7950%

Hartford                    HIMCO         First $500 million – 0.1500%         All Assets – At Cost
Conservative                               Next $4.5 billion – 0.1000%
Allocation Fund                             Next $5 billion – 0.0800%
                                           Amt. over $10B – 0.0700%


                  70.   While Wellington’s fees are a fraction of HIFSCO’s fee, upon information and

    belief, Wellington still makes a profit. Moreover, assuming arguendo that HIMCO’s “at cost”



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 fee represents the actual cost of performing services, HIFSCO’s fee of 2.5 to 6.5 times the “cost”

 is grossly disproportionate to the services it actually provides to the Funds. See ¶154. In 2009

 alone, HIFSCO was paid a total of $23,473,358 in investment management fees from the Funds

 at issue in this Complaint. Id. Of that sum, HIFSCO paid Wellington and HIMCO $9,579,617

 for sub-advisory services, retaining $13,893,741 for itself despite providing minimal additional

 advisory services to the Funds. Id. This is a clear breach of HIFSCO’s fiduciary duties and a

 violation of ICA § 36(b).

            71.        Plaintiffs, on behalf of the Hartford Funds, are entitled to recover the investment

 management fees received (and continuing to be received) by HIFSCO in breach of its fiduciary

 duty to the Funds (except the Hartford Money Market Fund) with respect to such compensation.

 The excessive management fees represent additional compensation for advisory services, and

 thus, are subject to an ICA § 36(b) claim.

                  2.        12b-1 Distribution Services

            72.        Prior to 1980, the SEC prohibited the use of fund assets (which are owned by

 the shareholders) to sell new fund shares. The SEC had traditionally been reluctant to allow fund

 advisers to charge their shareholders for selling shares to others because:

                  [T]he cost of selling and purchasing mutual fund shares should be
                  borne by the investors who purchase them and thus presumably
                  receive the benefits of the investment, and not, even in part, by the
                  existing shareholders of the fund who often derive little or no
                  benefit from the sale of new shares.
 Statement on the Future Structure of the Securities Markets, [Feb. 1972] Sec. Reg. & L. Rep.

 (BNA) No. 137 pt. II, at 7.

            73.        After intense lobbying by the mutual fund industry, however, the SEC agreed to

 consider modifying its objections to allow current fund shareholders to pay distribution

 expenses. In early comment letters and in proxy statements proposing adoption of plans of


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 distribution, the mutual fund industry argued that adding assets to an existing mutual fund would

 create economies of scale that would allow the advisers to provide the same quality and nature of

 services to mutual fund shareholders at dramatically lower costs.

               74.   Accepting the mutual fund industry’s argument that a growth in assets would

 lead to a quid pro quo reduction in fees and other expenses, the Commission tentatively

 approved Rule 12b-1. The SEC feared that “the use of mutual fund assets to finance distribution

 activities would benefit mainly the management of a mutual fund rather than its shareholders,

 and therefore that such use of fund assets should not be permitted.” Bearing of Distribution

 Expenses by Mutual Funds, Investment Company Act Release No. 9915, 1977 SEC LEXIS 943

 (Aug. 31, 1977). Indeed, the SEC attached numerous conditions to the use of fund assets to pay

 distribution expenses. For example, the SEC wanted to be certain that investment advisers

 would not “extract additional compensation for advisory services by excessive distributions

 under a 12b-1 plan.” Meyer v. Oppenheimer Management Corp., 895 F.2d 861, 866 (2d Cir.

 1990).

               75.   Unfortunately, that is precisely what Defendant HIFSCO has done: charged and

 collected additional compensation for its retail management services by causing the Plaintiffs

 and other Hartford Fund shareholders to pay Defendant HIFSCO’s marketing expenses to

 acquire new shareholders so that these new shareholders could pay additional investment

 management fees to Defendant. Existing shareholders are thus forced to pay additional fees

 because, along with new shareholders, assets under management increase thereby increasing the

 12b-1 fees.

               76.   Under this regime, Defendant HIFSCO has fashioned yet another way to

 increase its financial benefit while leaving Plaintiffs and other shareholders to bear the financial




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 burden. Indeed, Plaintiffs and the other shareholders of the Hartford Funds pay Rule 12b-1

 distribution fees for marketing, selling, and distributing mutual fund shares to new shareholders

 pursuant to distribution plans that Defendant adopted for the Hartford Funds pursuant to SEC

 Rule 12b-1. HMF and HMFII, on behalf of their respective Funds, have each adopted a separate

 Distribution Plan for each of the Class A, Class B, Class C and Class L shares of each Fund,

 pursuant to appropriate resolutions of HMF’s and HMFII’s Boards of Directors. See HMF

 Distribution Plan, Ex. 4; HMFII Distribution Plan, Ex. 5.

            77.   Pursuant to the HMF and HMFII’s Class A Distribution Plans, a Fund may

 compensate HIFSCO for its expenditures in financing any activity primarily intended to result in

 the sale of Fund shares and for maintenance and personal service provided to existing Class A

 shareholders. The HMF and HMFII’s Boards of Directors authorized Rule 12b-1 payments of

 0.25% of each Fund’s average daily net assets attributable to Class A shares.

            78.   Hartford’s 2009 SEC filings state that the 12b-1 Distribution Plans create

 “potential benefits … [which] include … the ability to provide investors with an alternative to

 paying front-end sales loads.”    (Emphasis added).      Class A shares of the Hartford Funds,

 however, are charged significant front-end sales loads in addition to the 12b-1 fees.

            79.   Pursuant to the HMF and HMFII’s Class B and Class C Distribution Plans, a

 Fund may pay HIFSCO a fee of up to 1.00% of the average daily net assets attributable to those

 classes, 0.75% of which is a fee for distribution financing activities and 0.25% of which is for

 shareholder account services.

            80.   Pursuant to the HMF and HMFII’s Class L Distribution Plans, a Fund may pay

 HIFSCO a total fee in connection with the servicing of shareholder accounts and distribution-




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 related services attributable to Class L shares, calculated and payable monthly at an annual rate

 of 0.25% of the Fund’s average daily net assets attributable to Class L shares.

            81.   Each of the Hartford Funds’ most recent Annual Reports further provides that

 each Fund’s 12b-1 fees are accrued daily and paid monthly.

            82.   Defendant HIFSCO’s wrongdoing is especially blatant in the case of the Class

 B shares of the Hartford Funds – a class that was closed to new investments as of September 30,

 2009 (“Close Date”). Effective at the close of business on the Close Date, no new or additional

 investments were allowed in Class B shares of the Funds.

            83.   Nonetheless, Defendant continues to charge the holders of the Hartford Funds’

 Class B shares 12b-1 fees for distribution and marketing activities for this share class, even

 though the sale of Class B shares is closed to new investments. For instance, a shareholder of the

 Hartford Funds may pay HIFSCO a fee of up to 1.00% of the average daily net assets attributable

 to Class B shares, 0.75% of which is a fee for distribution financing activities and 0.25% of

 which is for shareholder account services. Class B shareholders are also required to pay a

 significant back-load charge when the holders of this class seek to redeem their investment(s) in

 the Funds’ Class B shares.     According to the Harford Disclosure Materials, the maximum

 deferred sales charge (load) (as a percentage of purchase price or redemption proceeds,

 whichever is less) is 5.00% for Class B shares for the Hartford Funds. Class B shareholders are

 therefore forced to either: (1) stay in a class of shares that is closed to new investments and

 continue to pay significant distribution and marketing fees, or (2) pay a significant back-load

 charge if the shareholder seeks to redeem his/her Class B shares and avoid such useless

 distribution and marketing fees.




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             84.   Not only are the Class B 12b-1 fees that Plaintiffs paid to HIFSCO excessive for

  the reasons detailed above, the amounts HIFSCO charged with respect to Class A, Class B, Class

  C and Class L shares combined are improperly high. In one case, the 12b-1 fees are 3 times

  higher than the advisory and sub-advisory fees combined. See Table below:

       Hartford Fund                    2009                 2009         12b-1 fees as a
                                   Total Advisory         Total 12b-1      Percentage of
                                     and Sub-                Fees        Advisory and Sub-
                                   Advisory Fees                          Advisory Fees
                                                                            Combined
Advisers Fund                        $4,928,966           $3,144,687          63.80%
Growth Opportunities Fund           $15,948,779           $5,274,826          33.07%
Inflation Plus Fund                  $6,321,876           $5,245,536         82.97%%
Conservative Allocation Fund          $298,999             $896,293          299.76%
Global Health Fund                   $5,554,355           $1,812,431         32.63%%
Totals                              $33,052,975           $16,373,773         49.54%

             85.   As an example of HIFSCO’s gouging on the 12b-1 fees paid by the Plaintiffs,

  the Hartford Funds issue Class Y shares, which pay no 12b-1 Distribution Fees. This class of

  shares was created to meet the demands of institutional investors who refused to purchase mutual

  fund shares obligating them to pay 12b-1 Distribution Fees because they, and Defendant

  HIFSCO, unlike Plaintiffs and the holders of shares in other share classes in the Funds, clearly

  understand that the payment of such fees benefits only Defendant HIFSCO.              This further

  underscores the absence of any benefit to Plaintiffs.

             86.   The existence of this “12b-1-fee free” class of shares (Class Y) demonstrates

  that the Funds’ Distribution Plans, including the 12b-1 fees, should never have been adopted or

  continued year after year. If the benefits achieved by virtue of these services or the economies of

  scale created by additional assets were shared with the Funds (as required by the enabling rule),

  then the institutional holders of the “12b-1-free” Class Y shares would be eager to pay them and

  obtain their benefit. The benefits created by economies of scale, however, were not shared with



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 the Plaintiffs or the Funds. The adoption and continuation of the distribution fees, therefore, is

 contrary to Rule 12b-1 and their receipt by Defendant HIFSCO violates Section 36(b).

             87.    The 12b-1 fees paid by the Funds are excessive because they are based on the

 net asset value of the Hartford Funds and not on the distribution activity, if any, by Defendant

 HIFSCO, such as number of shares sold. Indeed, any portion of the fees paid to Defendant

 HIFSCO that are derived from market increases in the net asset value of the fund, rather than any

 distribution activity by Defendant HIFSCO, constitutes a breach of HIFSCO’s fiduciary duty to

 the Funds with respect to such compensation.

             88.    Although Plaintiffs, and the other shareholders of the Hartford Funds, pay for

 marketing, selling and distributing each fund through the 12b-1 fees, the monetary benefits

 derived from attracting new shareholders largely accrue to Defendant HIFSCO, not the existing

 shareholders. As such, the 12b-1 fees are entirely a waste of fund assets.

             89.    Plaintiffs, on behalf of the Hartford Funds, are entitled to recover the 12b-1 fees

 received (and continuing to be received) by HIFSCO in breach of its fiduciary duty to the Funds

 with respect to such compensation.          The excessive distribution fees represent additional

 compensation for advisory services, and thus, are subject to an ICA § 36(b) claim.


        B.         THE HARTFORD FUNDS’ BOARDS OF DIRECTORS WERE NOT
                   ACTING CONSCIENTIOUSLY IN APPROVING THE INVESTMENT
                   MANAGEMENT AGREEMENTS AND RULE 12b-1 DISTRIBUTION
                   PLANS

             90.    In Jones, the Supreme Court adopted a fiduciary duty standard for § 36(b) that

 requires both a fair outcome and good faith in the negotiation process. See ¶31. Defendant

 failed to provide the Funds’ Directors with all necessary information, and the Directors did not

 act with sufficient care and conscientiousness in reviewing and approving the management and

 12b-1 fees. The fee-setting process undertaken by the Boards lacked the requisite integrity, care


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 and good faith and was, therefore, defective. It is this defective process that has produced the

 excessive fees paid to HIFSCO in violation of ICA § 36(b).

            91.        Fund directors have a fiduciary duty to mutual funds and to their shareholders

 (who individually have no power to negotiate such fees for the funds) to negotiate fees that are

 both beneficial to the mutual funds and are comparable to fees that would be negotiated at arm’s

 length.

            92.        Each Hartford Board, in this case the identical nine people for all 88+ funds, has

 a separate and distinct fiduciary duty to each Hartford Fund to enter into serious and substantive

 negotiations with respect to all fees charged by Hartford Management, including HIFSCO. See

 Am. Bar. Ass’n, Fund Director’s Guidebook (2d ed. 2003), at 10 (“Although there are areas of

 common interest among the funds, the directors must exercise their specific board

 responsibilities on a fund-by-fund basis.”). Correspondingly, Hartford Management, including

 HIFSCO, has a reciprocal fiduciary duty to each mutual fund under its management, including

 each Hartford Fund, to assure that the fees it charges for services rendered are reasonably related

 to the services provided and correspond with fees that would be charged in an arm’s length

 negotiation.


                  1.        Investment Management Agreements

            93.        Congress has fortified fund directors’ oversight responsibilities by adopting §

 15(c) of the ICA, requiring directors to be adequately informed of the terms of any investment

 management contracts.

            94.        ICA § 15(c) requires investment advisers to furnish documents and other

 information so that fund directors can make informed and independent decisions when




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 evaluating investment advisory contracts. See 15 U.S.C. § 80a-15(c). This section also gives

 directors the authority to demand such information from advisers. Id.

            95.   The Hartford Disclosure Materials indicate that the Boards of Directors for

 HMF and HMFII are composed of the identical nine people, who meet and make decisions for

 all of the Hartford Funds. This same group of directors oversees and makes decisions for all

 approximately 88 funds in the Hartford Funds Complex. No public information is disclosed on

 the length of the meetings of these Boards of Directors other than the fact that they took place

 over two consecutive days. The issues that would need to be covered in these board meetings

 include the numerous corporate governance, portfolio management, portfolio pricing, audit and

 accounting issues that a mutual fund board must review annually under applicable statutes, rules

 and regulations in overseeing or governing a particular mutual fund, and would also include the

 annual renewals of the Investment Management Agreements and the Rule 12b-1 Distribution Fee

 Agreements.

            96.   The Hartford Directors are well compensated for their services with a fee that

 consists of an annual retainer component and a meeting fee component as well as retirement

 benefits. See ¶47. As a result of the compensation they receive, Board membership in the

 Hartford Funds Complex is a lucrative part-time job for the Fund Directors.         Further, the

 Directors’ continuation in the role of an Independent Director from year to year is at least

 partially dependent on the continued good will and support of Defendant HIFSCO.

            97.   The independent or “non-interested” directors are supposed to be “watchdogs”

 for the Funds’ shareholders. However, since the same directors are charged with the oversight of

 all of the mutual funds (including over 88 funds) in the Hartford Funds Complex, regardless of

 the dedication, sophistication, and the individual educational and business qualifications of the




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 independent members of the Boards of Directors of the Hartford Funds, many of whom are

 otherwise fully employed in demanding positions of responsibility, the amount of documentation

 that must be reviewed for each meeting would be daunting if the directors were to look at each

 fund individually.

            98.   The Boards do not hold separate meetings for each mutual fund. Instead, upon

 information and belief, the Boards’ practice has been to consider all funds at one time.

 According to each Fund’s Annual Report, the information related to the Boards’ discussion of

 the Gartenberg Factors is copied substantially verbatim for each Fund, and provides little, if any,

 supporting facts to conclude that the Boards undertook a thorough discussion of the relevant

 information for all 88+ funds within the Hartford Funds Complex during their two-day meeting.

            99.   By analyzing the Funds on an aggregated basis, the Boards likely overlook

 Defendant’s higher profitability attributable to larger funds and prevents the Boards from

 carefully reviewing the fairness of investment management fees for individual funds.

            100. Furthermore, even if statutorily “non-interested,” the Directors are in all

 practical respects dominated and unduly influenced by Defendant in reviewing the fees paid by

 the Funds and their shareholders. In particular, upon information and belief, Defendant does not

 provide the directors with sufficient information to fulfill their obligations, a factor

 demonstrating that the fee-setting process lacked good faith and integrity, in violation of ICA §

 36(b).

            101. Truly independent boards of directors acting conscientiously would not have

 tolerated the investment management fees charged by Defendant HIFSCO, (which performed

 minimal, if any, advisory services), if they had obtained adequate information regarding, among

 other things: (1) the sub-advisory fees Defendant paid for the Hartford Funds and the services




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 received by the Funds from Defendant for the additional “premium” charged on top of the sub-

 advisory fees; (2) the management fees charged and services provided by competitors with

 similar fund structures; the management fees charged and services provided to pension funds and

 other institutional clients of Defendant or its affiliates; (3) the economies of scale enjoyed by

 Defendant; and (4) the profitability of the Funds to Defendant (and how to evaluate the

 profitability data in light of economies of scale).

            102. In fact, Hartford has been the subject of SEC Cease and Desist proceedings

 regarding HIFSCO’s Financial Arrangements with Broker-Dealers for Shelf Space and

 HIFSCO’s failure to disclose the uses of Fund assets to the Board, resulting in a financial

 settlement. See November 8, 2006 Order, attached as Ex. 16. Under the November 8, 2006 SEC

 Order setting forth the terms of the settlement reached with HIFSCO and two other HIG

 subsidiaries, resolving the SEC’s Division of Enforcement’s investigation of HIG’s variable

 annuity and mutual fund operations related to directed brokerage and revenue sharing, HIFSCO

 (along with the other two HIG subsidiaries) was ordered to pay $55 million to settle charges of

 misrepresenting and failing to disclose to HMF and HMFII fund shareholders that fund assets

 were improperly used, in the form of directed brokerage commissions, to satisfy financial

 obligations to certain broker-dealers for the marketing and distribution of funds. Id. In light of

 the SEC Cease-and-Desist Order, the Boards should have been especially diligent in reviewing

 and approving any HIFSCO fee agreements.

            103. On information and belief, the Fund Directors rarely, if ever, questioned the

 adequacy or completeness of any information or recommendations provided by Defendant,

 including, for example, misleading representations by HIFSCO that it is difficult to anticipate

 whether and to what extent that economies of scale may be realized by HIFSCO as fund assets




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 grow over time. The evidence needed to establish the truth of these allegations is believed to be

 exclusively in the control of Defendant and is not in Plaintiffs’ possession at this time.

            104. The foregoing assures that the HMF and HMFII Directors do not understand

 Defendant HIFSCO’s true cost structure and, in particular, the economies of scale HIFSCO

 enjoyed in providing investment management services to the Funds. Indeed, the Boards of the

 HMF and HMFII knew that most, it not all, of the investment management services to the Funds

 were being provided by the Funds’ sub-adviser and not by Defendant HIFSCO, and that

 HIFSCO had previously been cited by the SEC for misappropriating fund assets through

 improper fees. Accordingly, the HMF and HMFII Boards violated their fiduciary responsibilities

 when they approved the payment of HIFSCO’s excessive investment management fees.


                2.      12b-1 Distribution Plans

            105. In addition to their annual review of the Investment Management Agreements,

 the Directors must also review the 12b-1 Plans on an annual basis. In particular, the directors

 must “request and evaluate . . . such information as may reasonably be necessary to an informed

 decision of whether such plan should be implemented or continued.” 17 C.F.R. § 270.12b-1(d).

 In addition, minutes must be maintained to record all aspects of the directors’ deliberation, and

 the directors must conclude “in light of their fiduciary duties under state law and under Sections

 36(a) and (b) of the ICA, that there is a reasonable likelihood that the Distribution Plans will

 benefit the company and its shareholders.” 17 C.F.R. § 270.12b-l(e).

            106. The Hartford Funds’ 12b-1 Distribution Plans have not been adopted in

 accordance with these requirements. In particular, the Boards could not have found that the

 Distribution Plans in general, or the 12b-1 fees in particular, benefit the Funds or their

 shareholders by generating savings from economies of scale in excess of the cost of the plan. In



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 fact, despite yearly increases in total assets held by the Funds, both the management fee and total

 12b-l fees received by Defendant increased as assets grew, thus depriving the Funds of the

 benefit of these economies of scale.

            107. A recent report written by Dr. Lori Walsh, a financial economist at the SEC,

 studied “whether shareholders do, in fact, reap the benefits of 12b-1 plans” and concluded that

 shareholders, as distinguished from the fund advisers, do not benefit from 12b-1 fees:

                Prior studies have provided evidence that shareholders are not
                receiving sufficient benefits from expense scale economies to
                offset the 12b-1 fee. In fact most of the studies show that expense
                ratios are higher for funds with 12b-1 fees by almost the entire
                amount of the fee. This study confirms these results using a more
                recent dataset . . . In all, the evidence demonstrates that 12b-1
                plans are successful at attaining faster asset growth; however,
                shareholders do not obtain any of the benefits from the asset
                growth. This result validates the concerns raised by opponents of
                12b-1 plans about the conflicts of interest created by these plans. . .
                12b-1 plans do seem to be successful in growing fund assets, but
                with no apparent benefits accruing to the shareholders of the fund.
                Although it is hypothetically possible for most types of funds to
                generate sufficient scale economies to offset the 12b-1 fee, it is not
                an efficient use of shareholder assets. … Fund advisers use
                shareholder money to pay for asset growth from which the adviser
                is the primary beneficiary through the collection of higher fees.
 Lori Walsh, The Costs and Benefits to Fund Shareholders of 12b-1 Plans: An Examination of

 Fund Flows, Expenses and Returns (2004), at 4, 18.

            108. Despite the fact that Plaintiffs and the other shareholders of the Hartford Funds

 have enjoyed no benefits from the Distribution Plans, and despite the fact that the Distribution

 Plans have allowed Defendant to extract additional unreasonable and excessive compensation

 from Plaintiffs and the other shareholders of the Funds, the Hartford Funds’ Directors

 nevertheless have continued to approve, year after year, continuation of the Distribution Plans in

 violation of both Rule 12b-1 and ICA §§ 12 thereby establishing a violation of § 36(b).




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            109. A truly independent board would not have tolerated the 12b-1 fees charged by

 Defendant if it had obtained adequate information regarding the Distribution Plans and the

 benefit (or lack thereof) to the shareholders of the Plans (such as whether the Distribution Plans

 should have been implemented and whether they should have been continued).

            110. Based on the foregoing, the Hartford Funds Boards did not (and, indeed, were

 unable to) act conscientiously and fulfill their fiduciary duty when they approved fees. In

 contravention of its duty to provide to the Boards all information necessary to evaluate terms of

 the Hartford Funds Investment Management Agreements and Distribution Plans, HIFSCO did

 not furnish such necessary information to the Boards for purposes of its review of the Funds’

 investment management agreements and 12b-1 Distribution Plans. See 15 U.S.C. § 80a-15(c);

 17 C.F.R. § 270.12b-1(d). Thus, the Boards were unable to conduct informed arm’s-length

 negotiations when approving the fees charged to the Funds.

            111. Alternatively, if HIFSCO did provide the Boards with the necessary information

 to review the Funds’ Investment Management Agreements and 12b-1 Distribution Plans, then the

 Boards acted unconscientiously by continuing to approve the excessive management and 12b-1

 fees.

            112. The Supreme Court has instructed that where, as here, “the board’s process was

 deficient [and/] or the adviser withheld important information, the court must take a more

 rigorous look at the outcome.” Jones, 120 S. Ct. at 1430. As described herein, the deficient fee-

 setting process resulted in fees that constitute a § 36(b) breach of HIFSCO’s fiduciary duty to the

 Funds with respect to such compensation.




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        C.      COMPARATIVE FEE STRUCTURES CHARGED TO NON-MUTUAL
                FUND CUSTOMERS AND OTHER MUTUAL FUND COMPLEXES FOR
                SIMILAR INVESTMENT MANAGEMENT SERVICES DEMONSTRATE
                THAT HIFSCO HAS CHARGED THE FUNDS EXCESSIVE FEES THAT
                BREACHED HIFSCO’S FIDUCIARY DUTY

             113. An analysis of: (1) the fees paid by Defendant’s sub-advisors, (2) investment

 management fees charged by Defendant’s competitors to mutual funds comparable to the

 Hartford Funds, and (3) the management fees charged by Hartford to third-party institutional

 clients, including non-mutual fund customers, demonstrates that HIFSCO has charged the

 Hartford Funds excessive investment management and distribution fees that violate HIFSCO’s

 fiduciary duty with respect to the receipt of compensation. The following relevant comparative

 fee structures establish that HIFSCO is charging advisory fees to the Funds that are

 disproportionate to the value of the services rendered.


                1.      Fee Structure of Defendant’s Sub-Advisors

             114. Defendant HIFSCO hired sub-advisors for all of the Hartford Funds that

 assumed the obligation of providing essentially all of the substantive investment advisory

 services to their designated funds. As each sub-advisor is a for-profit investment management

 company that negotiated its fee with Defendant, the fees they charge provide a guidepost of the

 cost of the investment advisory services provided to the Hartford Funds, presumably including a

 comfortable profit margin. Compared to the fees charged by the sub-advisors who actually

 perform the substantive advisory services to the Hartford Funds, the additional fees charged by

 Defendant for the little, if any, services to the Hartford Funds are unfair and excessive.

             115. While Plaintiffs do not challenge the fees paid to the sub-advisers of the

 Hartford Funds, those rates do provide a measure of how much the investment advisory services

 cost (and the economies of scale realized by the advisors). Indeed, the fees charged by each



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 Funds’ sub-adviser is indicative of the fee the Funds should pay for the investment management

 services. See ¶154. Defendant charges far more than the sub-advisors it hires for the Funds (i.e.,

 Wellington and HIMCO) even though the sub-advisors assume the obligations of HIFSCO to

 provide investment advisory services to their designated funds.

            116. Since Defendant HIFSCO’s investment management fees charged to the

 Plaintiffs, and the other shareholders of the Hartford Funds, and collected by HIFSCO were far

 in excess of the sub-adviser fee amount, Defendant HIFSCO’s fees were necessarily so

 disproportionately large that they bore no reasonable relationship to services rendered and could

 not have been the product of arm’s-length bargaining.


                2.     Fees Charged to Other Mutual Fund Complexes For Similar
                       Investment Management Services

            117. Other investment advisers who offer services to funds similar to the Hartford

 Funds charge substantially less than Defendant. On information and belief, the services provided

 by these other advisers are the same or substantially similar management services that Defendant

 HIFSCO provides to shareholders of the Hartford Funds. Indeed, the fee structure imposed by

 HIFSCO on the Hartford Funds far exceeded the fees that would be paid as a result of arm’s-

 length bargaining.

            118. For example, Wellington, the sub-adviser to the Hartford Global Health Fund,

 the Hartford Growth Opportunities Fund and the Hartford Advisers Fund, has also been engaged

 by Vanguard to provide investment advisory services to a number of the Vanguard mutual funds.

 While Vanguard provides services to the Vanguard funds at cost, the investment management

 services for its actively managed funds are provided by external managers, such as Wellington,

 who subcontract with Vanguard for a negotiated fee and earn a reasonable profit for its services.




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            119. Among others, Wellington provides management services to the Vanguard

 Health Care Fund, which is classified as a health fund; to the Vanguard Wellington Fund, which

 is classified as a moderate allocation fund; and to the Vanguard Morgan Growth, which is

 classified as a large cap growth fund. Shareholders of these Vanguard Funds pay significantly

 lower investment management fees than the Hartford Global Health Fund, the Hartford Advisers

 Fund, and the Hartford Growth Opportunities Fund, which are classified as health, moderate

 allocation and large cap growth funds, respectively. The following table contains a side-by-side

 comparison of the management fee schedules for the Hartford Funds, including the fees that

 Wellington charges for providing substantially similar advisory services to the Hartford Funds,

 with the fee schedules charged to comparable Vanguard funds:




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Hartford Fund       HIFSCO Fee Schedule             Wellington Fee for             Vanguard       Most Recent Fee
                    (annual rate based on         Providing Sub-Advisory             Fund           Schedule for
                   average daily net assets)      Services to the Hartford       (comparable          Vanguard
                                                           Funds                  investment      Funds (based on
                                                                                classification)     average daily
                                                                                                     net assets)
Hartford Global   First $500 million – 0.9000%   First $100 million – 0.4500%   Vanguard          For the six
Health Fund       Next $500 million – 0.8500%    Next $400 million – 0.3500%    Health Care       months ended
(Health)           Next $4 billion – 0.8000%     Amt. over $500M – 0.3000%      Fund              July 31, 2010,
                   Next $5 billion – 0.7975%                                    (Health)          investment
                   Amt. over $10B – 0.7950%                                                       advisory fee
                                                                                                  represented:

                                                                                                  Annual rate of
                                                                                                  0.15% of the
                                                                                                  fund’s average
                                                                                                  net assets
Hartford          First $500 million – 0.6900%   First $50 million – 0.2200%    Vanguard          For the year
Advisers Fund     Next $500 million – 0.6250%    Next $100 million – 0.1800%    Wellington        ended November
(Moderate          Next $4 billion – 0.5750%     Next $350 million – 0.1500%    Fund              30 2010, the
Allocation)        Next $5 billion – 0.5725%     Amt. over $500M – 0.1250%      (Moderate         investment
                   Amt. over $10B – 0.5700%                                     Allocation)       advisory fee
                                                                                                  represented:

                                                                                                  Annual rate of
                                                                                                  0.07% of the
                                                                                                  fund’s average
                                                                                                  net assets
Hartford          First $100 million – 0.9000%      All Assets – 0.2700%        Vanguard          For the year
Growth            Next $150 million – 0.8000%                                   Morgan            ended September
Opportunities     Next $4.75 billion – 0.7000%                                  Growth Fund       30, 2010, the
Fund               Next $5 billion – 0.6975%                                    (Large Cap        investment
(Large Cap         Amt. over $10B – 0.6950%                                     Growth)           advisory fee
Growth)                                                                                           represented:

                                                                                                  Annual rate of
                                                                                                  0.16% of the
                                                                                                  fund’s average
                                                                                                  net assets

                   120. Had the Vanguard investment management fee schedules been applicable to the

        Hartford Global Health Fund, the Hartford Advisers Fund and the Hartford Growth

        Opportunities Fund, those Funds would have saved millions of dollars in 2009 alone. For

        example, the first breakpoint that HIFSCO charges to the Hartford Growth Opportunities Fund

        does not start until $100 million at 90 basis points, which is almost 5.5 times greater than the


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 advisory fee schedule for Vanguard’s comparable large cap growth funds. See ¶69. In the case

 of the Harford Global Health Fund, the first breakpoint in HIFSCO’s fee schedule does not even

 start until $500 million at 90 basis points, which is 6 times greater than the advisory fee schedule

 for Vanguard’s comparable health fund.        Id.    Similarly, the Harford Advisers Fund’s first

 breakpoint of 69 basis points at $500 million in HIFSCO’s fee schedule is almost 10 times

 greater than the advisory fee schedule for Vanguard’s comparable moderate allocation fund. Id.

            121. The Vanguard fees set forth in the above table (¶119) are appropriate fee

 comparisons for the fees Defendant HIFSCO should have been charging Plaintiffs, and the other

 shareholders of the Hartford Funds for investment management services. As evidenced by the

 following table, the services provided by Wellington to the Vanguard Funds are substantially

 comparable to the services Defendant HIFSCO provides to the Hartford Funds.

   Investment             Funds          Investment Management Services Performed by
     Advisor                                              Investment Advisor
  HIFSCO            Hartford Funds      (a) provide investment advice and recommendations
                                        to each fund, (b) supervise continuously the
                                        investment program of each fund and determine what
                                        securities should be bought and sold by each fund,
                                        (c) arrange for the purchase and sale of investments
                                        for each fund, and (d) provide economic and
                                        statistical data and/or other information as HIFSCO
                                        shall deem appropriate or as shall be requested by the
                                        Board of Directors.
  Wellington        Vanguard Funds      (a) manage the investment and reinvestment of the
                                        assets of the fund; (b) continuously review,
                                        supervise, and administer an investment program for
                                        the fund; (c) determine the securities to be purchased
                                        or sold for the fund; (d) provide the fund with records
                                        concerning Wellington’s activities; and (d) render
                                        regular reports to the Board of Trustees.

            122. Further, HIFSCO’s 12b-1 fee structure imposed by HIFSCO on the Hartford

 Funds far exceeded the fees that would be paid as a result of arm’s-length bargaining. For

 example, the comparable Vanguard funds discussed above do not charge any 12b-1 fees:


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Hartford Fund          12b-1 Fee   12b-1 Fee   12b-1 Fee     12b-1 Fee       Vanguard Fund      12b-1 Fee
                        Class A     Class B     Class C       Class Y          (comparable       Investor
                                                                                investment        Share
                                                                              classification)     Class
Hartford Global         0.25 %      1.00 %       1.00 %        None         Vanguard Health        None
Health Fund                                                                 Care Fund
(Health)                                                                    (Health)

Hartford                0.25 %      1.00 %       1.00 %        None         Vanguard              None
Advisers Fund                                                               Wellington Fund
(Moderate                                                                   (Moderate
Allocation)                                                                 Allocation)
Hartford                0.25 %      1.00 %       1.00 %        None         Vanguard              None
Growth                                                                      Morgan Growth
Opportunities                                                               Fund
Fund                                                                        (Large Cap
(Large Cap                                                                  Growth)
Growth)

                  3.       Fees Charged By Hartford to Institutional Clients for Similar
                           Investment Management Services

             123. Defendant and/or its affiliated entities also provide investment management

  services to third-party institutional, or separately managed, accounts.

             124. In Jones, the Supreme Court indicated that a court, in assessing an investment

  adviser’s fiduciary duty, should give comparisons between management fees charged to an

  adviser’s mutual funds and management fees charged to its independent clients “the weight that

  they merit in light of the similarities and differences between the services.” 130 S. Ct. at 1428.

             125. Here, the services that Hartford provides to the institutional accounts are

  substantially similar, if not identical, to the investment management services Defendant provides

  to the Funds. Indeed, the Hartford Funds pay separately pursuant to separate agreements for

  services that are not provided to non-mutual fund clients.14 As a result, the comparison of the


  14
    For example, the Hartford Funds have entered into a separate Fund Accounting Agreement
  pursuant to which they pay fees to Hartford Life Insurance Co. for accounting services. See Ex.
  10. Similarly, the Funds pay Hartford Administrative Services Company separately for
  administrative and transfer agency services. See Ex. 7.

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 investment management fees HIFSCO charges to the Funds to the fees charged by Hartford to

 the institutional accounts is entitled to considerable weight.

            126. Although the investment management services provided to the Funds are

 virtually identical to services provided to the institutional accounts, and therefore are directly

 comparable, the fees charged to the Funds are materially higher than the fees charged to the

 institutional accounts.

            127. While a “manager may encounter different levels of fixed and variable research

 costs depending on the type of the portfolio, . . . the fundamental management process is

 essentially the same for large and small portfolios, as well as for pension funds and mutual funds.

 The portfolio owner’s identity (pension fund versus mutual fund) should not logically provide a

 reason for portfolio management costs being higher or lower.” See John P. Freeman & Stewart

 L. Brown, Mutual Fund Advisory Fees: The Cost of Conflicts of Interest, 26 J. CORP. L. 610, at

 627-28 (2001) (the “Freeman & Brown Study”), attached as Ex. 17. Indeed, “a mutual fund, as

 an entity, actually is an institutional investor. When it comes to fee discrepancies, the difference

 between funds and other institutional investors does not turn on ‘institutional status,’ it turns on

 self-dealing and conflict of interest.” Id. at 629 n.93. Accordingly, the “‘apples-to-apples’ fee

 comparisons between equity pension managers and equity fund managers can be most difficult

 and embarrassing for those selling advice to mutual funds.” Id. at 671-72.

            128. For example, HIMCO, an affiliate of HIFSCO and sub-adviser to two of the

 Hartford Funds at issue here, provides investment management services to employee benefit

 plans and/or mutual funds unaffiliated with Hartford, such as the State Board of Administration

 of Florida, the State of Connecticut, and Montgomery Street Income Securities, Inc.




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           129. Although the investment management services that HIMCO provides these

 institutional accounts are the same as the investment management services that HIFSCO

 provides to the Funds (to whom HIFSCO owes a fiduciary duty), the Funds pay investment

 management fees that are significantly higher than those paid by the institutional clients, who

 bargain at arm’s-length over fees. For example:

               a. For the fiscal year ending December 31, 2009, HIMCO
                  charged Montgomery Street Income Securities, Inc., a closed
                  end mutual fund, a total annual investment management fee of
                  approximately 0.25% of the average net assets managed.
               b. HIMCO provides investment management services to a fixed
                  income account for the State of Connecticut. In exchange for
                  these investment management services, the State of
                  Connecticut pays approximately 9 to 11 basis points (.09% to
                  .11%).15 In fiscal year 2009, HIMCO received a fee of
                  approximately $444,000 for advising an approximately $407
                  million account. Meanwhile, in 2009, the Hartford Inflation
                  Plus Fund, a fixed income fund, with average assets under
                  management of $1.5 billion, paid approximately $4.5 million
                  for the same investment management services that the State of
                  Connecticut received at a fraction of the price. In exchange for
                  these investment management services provided by HIFSCO,
                  Plaintiffs, and other shareholders, invested in the Hartford
                  Inflation Plus Fund paid approximately 52 basis points.
               c. HIMCO also manages an approximately $2 billion fixed
                  income account for the State Board of Administration of
                  Florida. For fiscal years 2007-2008 and 2008-2009, the State
                  Board of Administration of Florida paid 8 basis points and 10
                  basis points, respectively, to the investment advisers of its
                  fixed income accounts.16
           130. In 2009, the Hartford Inflation Plus Fund, a fixed income fund, paid investment

 management fees to HIFSCO that were as much as 5 to 6 times higher in basis points than what


 15
    These figures are derived from reported fiscal year end assets managed by HIMCO and total
 fees paid to HIMCO by fiscal year.
 16
    Although the precise fee charged by HIMCO is not reported, it is unlikely that the fees
 HIMCO charges would deviate materially from the reported aggregate fee, particularly given
 that the fee is in line with what HIMCO charges the State of Connecticut.



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 HIMCO charges institutional clients to provide investment management services to fixed income

 accounts. See ¶69. At the Harford Inflation Plus Fund’s current level of assets ($1.5 billion), the

 difference in investment management fees that HIFSCO charged that Fund, as compared to the

 investment management fees that HIMCO charges its institutional clients, translates to over $6

 million per year.

             131. That Defendant and its affiliates charge third parties far lower fees than they are

 charging the Hartford Funds, to whom they owe a fiduciary duty, for the same services

 demonstrates that the investment management fees charged constitute a breach of HIFSCO’s

 fiduciary duty to the Funds with respect to such compensation.


        D.      THE ECONOMIES OF SCALE ENJOYED IN CONNECTION WITH THE
                INVESTMENT MANAGEMENT AND DISTRIBUTION SERVICES
                WERE NOT PASSED ON TO THE PLAINITFFS AND OTHER
                SHAREHOLDERS OF THE FUNDS AS REQUIRED BY SECTION 36(b),
                BUT WERE KEPT BY DEFENDANT HIFSCO IN VIOLATION OF ITS
                FIDUCIARY DUTY

             132. The amount of the compensation received by the adviser should be evaluated in

 context with the economies of scale realized by a fund. Economies of scale are created when

 assets under management increase more quickly than the cost of advising and managing those

 assets. The work required to operate a mutual fund does not increase proportionately with the

 assets under management.

                [I]nvestment management efforts, the most important (and most
                expensive) input into portfolio management, do not increase along
                with portfolio size. A portfolio manager can invest $5 billion
                nearly as easily as $1 billion and $20 billion nearly as easily as $10
                billion. (Size may impair performance, but it imposes little
                logistical challenge.)
 Swensen, Unconventional Success: A Fundamental Approach to Personal Investment 238.

 Therefore, “[a]s scale increases, fees as a percentage of assets ought to decline, allowing both




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 fund manager and fund shareholders to benefit.” Id. Indeed, break points “reflect the economic

 reality of the direct relationship between decreasing marginal costs and increasing portfolio

 size.” Id. According to another fund industry expert, John C. Bogle, the economies of scale

 generated in the mutual fund portfolio management and research business are “little short of

 staggering.” John C. Bogle, The Battle for the Soul of Capitalism 154 (2005).

            133. As an example, if a fund has fifty million dollars ($50,000,000) of assets under

 management and is charged a fee of 75 basis points (100 basis points = 1%), the fee equals

 $375,000 per year. A comparable mutual fund with five hundred million dollars ($500,000,000)

 of assets under management would generate a fee of three million seven hundred and fifty

 thousand dollars ($3,750,000).       Similarly, a mutual fund worth five billion dollars

 ($5,000,000,000) would generate a fee of thirty-seven million, five hundred thousand dollars

 ($37,500,000) per year.

            134. As assets under management increase, however, the cost of providing services

 to additional assets does not increase at the same rate, resulting in tremendous economies of

 scale. In other words, it simply does not cost a fund’s adviser ten times as much to render

 services to a ten billion dollar ($10,000,000,000) fund as compared to a one billion dollar

 ($1,000,000,000) fund. In fact, the investment management services or securities selection

 process for a ten billion dollar fund and a one billion dollar fund, or even a one million dollar

 fund, are virtually identical, generating enormous economies of scale. Indeed, at some point, the

 additional cost to advise each additional dollar in the fund (whether added because of a rise in

 the value of the securities or additional contributions by current or new shareholders) approaches

 a number at or close to zero.




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            135. The existence of economies of scale in the mutual fund industry has been

 confirmed by both the SEC and the Governmental Accounting Office (the “GAO”). Both

 conducted in-depth studies of mutual fund fees in 2000, and both concluded that economies of

 scale exist in the provision of management services.             See SEC Division of Investment

 Management: Report on Mutual Fund Fees and Expenses (Dec. 2000) (“SEC Report”), at 30-31,

 attached as Ex. 18; GAO, Report on Mutual Fund Fees to the Chairman, Subcommittee on

 Finance and Hazardous Materials; and the Ranking Member, Committee on Commerce, House

 of Representatives (June 2000) (“GAO Report”), at 9, attached as Ex. 19. The GAO has

 estimated as much as 64% of mutual fund asset growth has been the result of market appreciation

 rather than additional purchases of new shares of a fund. Id.

            136. In addition, the most significant academic research undertaken since the

 Wharton School study in the 1960s (see Wharton School of Finance & Commerce, 87th Cong., A

 Study of Mutual Funds 493 (Comm. Print 1962)) has proven that economies of scale are not

 being passed along to mutual fund shareholders – in violation of Defendant’s duty to do so under

 § 36(b) and Rule 12b-1. See Freeman & Brown Study at 661, Ex. 17. The Freeman & Brown

 Study noted: “The existence of economies of scale has been admitted in SEC filings made by

 fund managers and is implicit in the industry’s frequent use of fee rates that decrease as assets

 under management increase. Fund industry investment managers are prone to cite economies of

 scale as justification for business combinations.” Id. at 620.

            137. Economies of scale exist not only fund by fund but also exist with respect to an

 entire fund complex and even with respect to an investment adviser’s entire scope of operations,

 including services provided to institutional and other clients. Id. at 621 n.62 (citing Victoria E.

 Schonfeld & Thomas M.J. Kerwin, Organization of a Mutual Fund, 49 BUS. LAW 107 (1993)).




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            138. As fund portfolios grow, they quickly create economies of scale and eventually

 the incremental cost of servicing additional assets approaches zero. As the GAO confirms, it is

 possible for the adviser to service the additional assets with zero additional costs. See GAO

 Report, at 9, Ex. 19 (noting that growth from portfolio appreciation is unaccompanied by costs).

 The Freeman & Brown Study at 619, n.43, Ex. 17, also noted that investment advisors have

 benefited by garnering “increased fees from the general increase in market prices with no

 commensurate efforts on their part.”

            139. Although significant economies of scale exist for each of the Hartford Funds,

 the associated cost savings largely have been appropriated for the benefit of Defendant rather

 than being shared with the Funds. The economies-of-scale benefits that have been captured and

 misappropriated by Defendant can and have generated huge unreasonable and excessive,

 undeserved profits for HIFSCO in breach of its fiduciary duty to the Funds with respect to such

 compensation.

            140. The management fees received by HIFSCO are paid as a varying percentage of

 assets under management. The fees vary based on the amount of assets under management, and

 are reduced as the total amount of assets under management increase. This fee structure, known

 as “breakpoints,” implicitly recognizes the economies of scale and gives the appearance that the

 Funds share in those benefits.

            141. The 12b-1 distribution fees are also paid to HIFSCO based upon a percentage of

 net assets of each of the Funds. Defendant HIFSCO purportedly collects these fees in order to

 grow or stabilize the assets of the Hartford Funds so that the Funds can benefit from economies

 of scale through reductions in other fees, such as management and administrative fees.




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            142. These benefits can and should have been shared with mutual funds and their

 shareholders by reducing and/or eliminating the management and distribution fees and other

 costs charged to the funds by Defendant.

            143. In the case of the Hartford Funds, however, HIFSCO has failed to share any

 meaningful savings with the Funds. While the Investment Management Agreements include

 advisory fee breakpoints, these breakpoints are meaningless, because as a practical matter, they

 did not pass on any of the economies of scale to Plaintiffs, and the other shareholders of the

 Funds. The mere existence of breakpoints does not mean that economies of scale are adequately

 passed on to shareholders of the Funds. Indeed, the breakpoints are designed by Defendant

 HIFSCO to benefit itself rather than the Funds. As described below, the initial breakpoints are

 too high, the breakpoints are spaced too far apart, and the reductions made at breakpoints are far

 too small, thereby depriving Plaintiffs and the Funds of the benefits of the economies of scale

 created by the contribution of their capital to the Funds.

            144. For instance, the first breakpoint occurs at $500 million for the Hartford

 Advisers Fund, the Hartford Inflation Plus Fund, the Hartford Global Health Fund, and the

 Hartford Conservative Allocation Fund, and at $250 million for the Hartford Growth

 Opportunities Fund. See ¶69. Significant economies of scale are created by the Plaintiffs’ and

 the other shareholders’ investments in the Funds long before this initial breakpoint, but they are

 not shared with the Funds. Defendant HIFSCO retains for itself the benefits created by the

 economies of scale between breakpoints. A flat management fee (in dollars, not percentage) or a

 breakpoint approaching zero would allow the Funds to capture economies of scale that rightfully

 belongs to them under Section 36(b), while also allowing Defendant HIFSCO to earn a fair and

 competitive profit for its services.




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            145. HIFSCO has also negotiated a breakpoint schedule with Wellington on at least

 two of its funds (Hartford Advisers Fund and Hartford Global Health Fund) by which Wellington

 grants fee reductions at several levels prior to $500 million in assets under management. See

 ¶69. On the other hand, the breakpoint schedule that HIFSCO charges to those Funds does not

 even start until $500 million. Id. For example, when HIFSCO negotiated the breakpoint

 schedule with Wellington, the sub-advisor for the Hartford Advisers Fund, HIFSCO negotiated a

 schedule under which Wellington granted fee reductions beginning after this Fund reaches $50

 million in assets and drops to just 12.5 basis points on any amount over $500 million. Id. In

 contrast, HIFSCO offers Plaintiffs, and the other shareholders of the Hartford Advisers Fund,

 their first breakpoint only after assets reach $500 million at 69 basis points, and HIFSCO’s fee

 only drops to 57 basis points when there are more than $10 billion in assets under management.

 Id.

            146. The cost of Defendant’s minimal oversight function should not increase as fund

 assets increase. As a result, HIFSCO fails to share with the Funds’ shareholders the benefits of

 economies of scale realized from the HMF Wellington Agreement and generally fails to

 meaningfully share economies of scale with the Fund’s shareholders regarding the fees HIFSCO

 collects from the Funds.

            147. Wellington’s sub-advisory fees are substantially lower than HIFSCO’s advisory

 fees for the Funds Wellington sub-advises. HIMCO charges a sub-advisory fee “at cost” and

 which is substantially lower than HIFSCO’s advisory fees for the two Funds sub-advised by

 HIMCO. By subcontracting with Wellington and/or HIMCO to provide sub-advisory and/or

 investment services at a fraction of HIFSCO’s fee, HIFSCO receives fees that are

 disproportionate to the services it renders.   HIFSCO’s receipt of these fees is particularly




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 egregious given that the cost of the “oversight” function it performs for the Funds should not

 increase as Fund assets increase, resulting in enormous economies-of-scale benefits that HIFSCO

 retains for itself but that should be shared with the Funds and their shareholders.

             148. As assets under management have grown, the management and distribution fees

 paid to HIFSCO have grown dramatically, despite the economies of scale realized by Defendant.

 Defendant has not shared with the Plaintiffs, and other shareholders of the Funds, the economies

 of scale it has gained from that growth.

             149. Given that the investment management and distribution fees paid to HIFSCO

 are unfair, unreasonable, and excessive, especially when compared to the rates charged by the

 sub-advisers, by competitors or to institutional clients, the excess profits resulting from these

 economies of scale belong to the Plaintiffs and the other shareholders of the Funds.

 Nevertheless, the economies of scale enjoyed by Defendant HIFSCO with respect to the Hartford

 Funds have not been adequately shared with the Funds, as required by § 36(b) and Rule 12b-1, in

 breach of HIFSCO’s § 36(b) fiduciary duty to the Funds with respect to such compensation.


        E.      THE COSTS AND PROFITABILITY OF PROVIDING INVESTMENT
                MANAGEMENT AND DISTRIBUTION SERVICES DID NOT JUSTIFY
                HIFSCO’S EXCESSIVE FEE

             150. “[T]he ‘profitability of the fund to the adviser’ [must] be studied in order that

 the price paid by the fund to its advisor be equivalent to ‘the product of arm’s-length

 bargaining.’” See Freeman & Brown Study, at 661, Ex. 17. The profitability of a fund to an

 adviser-manager is a function of revenues minus the costs of providing services.

             151. Following discovery, Defendant’s true profitability can be determined on either

 an incremental basis or a full-cost basis.         Defendant’s incremental costs of providing

 management services to Plaintiffs are believed to be nominal while the additional fees received



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 by Defendant are unreasonable and hugely excessive given that the nature, quality, and level of

 the services remain the same in breach of HIFSCO’s fiduciary duty to the Funds with respect to

 such compensation. On information and belief, a review of Defendant’s full costs of providing

 management services will also demonstrate the enormous profitability to Defendant of managing

 the Hartford Funds.

             152. The table in Paragraph 69 shows the investment management fee schedule that

 HIFSCO charges to each of the Funds as compared to the fee schedule that HIFSCO pays its

 sub-advisers to whom HIFSCO delegates the core of the investment management duties.

             153. While fees of less than 1% may seem inconsequential, these percentages

 translate into substantial fees when applied to Fund assets in the hundreds of millions, or even

 billions, of dollars.

             154. HIFSCO has collected investment management fees of over $250 thousand per

 year for its smallest funds (while paying the sub-adviser only $39 thousand per year) to nearly

 $11 million per year for the largest funds (while paying the sub-adviser only $5 million). See the

 following table.




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   2009 HARTFORD FUNDS HIFSCO FEES RETAINED AFTER PAYMENT TO SUB-
          ADVISERS WELLINGTON & HIMCO PURSUANT TO THE SAI

    Fund          Investment         Net Paid        Net Paid        Difference   Percent
                 Services/Sub-       HIFSCO        Sub-Advisor                    Retained
                   Advisory                                                          by
                  Agreement                                                       HIFSCO
Hartford         Wellington         $3,821,451        $1,107,515     $2,713,936    71.02%
Advisers
Fund
Hartford         Wellington        $10,981,675        $4,967,104     $6,014,571    54.77%
Growth
Opportunities
Fund
Hartford         HIMCO              $4,540,815        $1,781,061     $2,759,754    60.78%
Inflation Plus
Fund
Hartford         HIMCO               $259,330          $39,669        $219,661     84.70%
Conservative
Allocation
Fund
Hartford         Wellington         $3,870,087        $1,684,268     $2,185,819    56.48%
Global
Health Fund
Totals                             $23,473,358        $9,579,617    $13,893,741

            155. “[F]und managers … routinely add a hefty ‘premium’ or ‘monitoring fee’ to the

 sub-advisers’ charge. True, the sub-adviser may charge only 30 bps for its investment advice,

 but the manager will typically pad the bill, adding an additional twenty to thirty basis points

 ‘premium’ before passing along the advisory charge to fund shareholders.” Freeman, Brown &

 Pomerantz Study, at 117-118, Ex. 12. Indeed, “overall fee levels for sub-advised funds are

 substantially higher than for funds managed in-house.” Id. at 118. As demonstrated above,

 HIFSCO is no different, padding the bill by approximately $14 million dollars in fiscal year 2009

 alone, for providing few, if any, additional services to the Hartford Funds.




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            156. Despite delegating all or substantially all of its investment management duties

 to sub-advisers and performing little, if any additional work, HIFSCO retains between 55% and

 85% of these investment management fees, resulting in exorbitant profits. See ¶154.

            157. Put another way, the true cost of investment management services should

 represent 15% to 45% of HIFSCO’s fee to the Hartford Funds, which correlates to the fees

 charged by Wellington and/or HIMCO. In fact, as an external, for-profit sub-adviser, the fees

 charged by Wellington to HIFSCO include Wellington’s costs plus a reasonable profit.

            158. Indeed, the Hartford Funds’ disclosures characterize the HIMCO fees charged

 as “at cost.” See ¶69. Assuming arguendo that HIMCO’s sub-advisory services truly are

 provided “at cost” and do not include any markup or built-in profit, HIMCO’s cost to provide

 advisory services to the Hartford Inflation Plus Fund and the Hartford Conservative Allocation

 Fund in 2009 were at most approximately 12 basis points, and 1.8 basis points, respectively. For

 performing little, if any, additional services to the funds, HIFSCO nevertheless charged the

 Hartford Inflation Plus Fund a fee that is nearly 2.5 times, and in the case of the Hartford

 Conservative Allocation Fund a fee that is almost 6.5 times, HIMCO’s costs.

            159. This subcontracting arrangement led to fees that were disproportionate to

 services actually rendered and to enormous profits to HIFSCO for little or no work.

            160. These markups could not be the product of negotiations conducted at arm’s

 length and therefore constitute a breach of HIFSCO’s fiduciary duty to the Funds with respect to

 the receipt of such compensation.

            161. HIFSCO has also collected 12b-1 distribution fees of over $17,000,000 for the

 Funds. See the following table.




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    2009 HARTFORD FUNDS 12B-1 DISTRIBUTION FEES PURSUANT TO THE SAI

                    Fund                         Class A        Class B      Class C        Class L
  Hartford Advisers Fund                       $1,369,789      $825,322     $949,576
  Hartford Growth Opportunities Fund           $2,265,142      $346,912    $1,747,200      $915,572
  Hartford Inflation Plus Fund                 $1,115,490      $859,514    $3,270,532
  Hartford Conservative Allocation Fund         $287,954       $212,525     $395,814
  Hartford Global Health Fund                   $641,795       $364,786     $805,850
  Hartford Money Market Fund                    $383,511       $228,059     $439,974
  Totals                                       $6,063,681     $2,837,118   $7,608,946      $915,572

            162. The cost of providing distribution and marketing services does not justify

 charging such an excessive fee, especially since Class B shares have been closed to new

 investments and the fees are not tied to any distribution activities.

            163. The 12b-1 fees were therefore disproportionate to the services actually rendered

 resulting in huge profits for HIFSCO.

            164. The 12b-1 fees could not be the product of negotiations conducted at arm’s

 length, especially given that institutional investors, investors with greater negotiating authority,

 refuse to pay 12b-1 fees, and therefore constitute a breach of HIFSCO’s fiduciary duty to the

 Funds with receipt of such compensation.




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                                            COUNT I

    AGAINST DEFENDANT HIFSCO PURSUANT TO ICA § 36(b) DERIVATIVELY
   ON BEHALF OF THE HARTFORD ADVISERS FUND, THE HARTFORD GLOBAL
     HEALTH FUND, THE HARTFORD GROWTH OPPORTUNITIES FUND, THE
   HARTFORD INFLATION PLUS FUND AND THE HARTFORD CONSERVATIVE
                  ALLOCATION FUND (“COUNT I FUNDS”)

                                   (Investment Management Fees)

             165. The Plaintiffs repeat and reallege each and every allegation contained prior to

 Count I as if fully set forth herein.

             166. The Defendant had a fiduciary duty to the Count I Funds and their investors

 with respect to the receipt of compensation for services and payments of a material nature made

 by and to such Defendant.

             167. The fees charged by Defendant for providing investment management and/or

 advisory services to the Count I Funds breach HIFSCO’s fiduciary duty to the Count I Funds

 with respect to such compensation.

             168. This Count is brought by Plaintiffs derivatively on behalf of the Count I Funds

 against Defendant HIFSCO for breach of its fiduciary duties with respect to the receipt of

 compensation as defined by § 36(b).

             169. The fees received by Defendant breach HIFSCO’s fiduciary duty to the Count I

 Funds with respect to such compensation. By reason of the conduct described above, Defendant

 violated § 36(b) of the ICA.

             170. As a direct, proximate and foreseeable result of Defendant’s breaches of

 fiduciary duties in its role as investment adviser to the Count I Funds and their investors, the

 Count I Funds and their shareholders have sustained many millions of dollars in damages.




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             171. In charging and receiving inappropriate and unlawful compensation, and in

 failing to put the interests of the Plaintiffs, and other shareholders of the Count I Funds ahead of

 its own interests, Defendant has breached and continues to breach its statutory fiduciary duty to

 Plaintiffs in violation of § 36(b).

             172. The Plaintiffs seek, pursuant to § 36(b)(3) of the ICA, the “actual damages

 resulting from the breach of fiduciary duty” by Defendant, up to and including, “the amount of

 compensation or payments received from” the Count I Funds and earnings that would have

 accrued to Plaintiffs had that compensation not been paid.

             173. Alternatively, the Plaintiffs seek rescission of the contracts and restitution of all

 fees paid pursuant thereto. See 15 U.S.C. § 80a-46(a-b) of the ICA. When a violation of the

 ICA has occurred, a court may order that the Investment Management Agreements between

 Defendant and the Count I Funds on behalf of the Count I Funds be rescinded, thereby requiring

 restitution of all investment management fees paid to it by the Count I Funds from one year prior

 to the commencement of this action through the date of trial, together with interest, costs,

 disbursements, attorneys’ fees, fees of expert witnesses, and such other items as may be allowed

 to the maximum permitted by law.

                                              COUNT II

     AGAINST DEFENDANT HIFSCO PURSUANT TO ICA § 36(b) DERIVATIVELY
                  ON BEHALF OF THE HARTFORD FUNDS

   (Unreasonable and Excessive Rule 12b-1 Distribution Fees and Extraction of Additional
                   Compensation for Investment Management Services)

             174. The Plaintiffs repeats and reallege each and every allegation contained prior to

 Count II as if fully set forth herein.




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            175. The 12b-1 fees charged and received by Defendant HIFSCO were designed to,

 and did, extract additional compensation for Defendant’s management services in violation of

 Defendant’s fiduciary duty under ICA § 36(b). Even to the extent that the 12b-1 fees (as

 opposed to market forces, continued participant contributions or appreciation) contributed to the

 growth in assets of the Hartford Funds, the resulting economies of scale benefited only

 Defendant, and not the Hartford Funds or their shareholders, such as the Plaintiffs.

            176. In failing to pass along economies-of-scale benefits from the 12b-1 fees, and in

 continuing to assess 12b-1 fees pursuant to the HMF Distribution Plan and the HMFII

 Distribution Plan despite the fact that no benefits inured to the Hartford Funds or their

 shareholders, Defendant HIFSCO has violated, and continues to violate, the ICA and has

 breached and continues to breach its statutory fiduciary duty to Plaintiffs and the Funds in

 violation of § 36(b), both as a result of a negotiation process that lacked good faith and integrity

 and/or with respect to the substantive amounts of the fees.

            177. Plaintiffs seek, pursuant to ICA § 36(b)(3), the “actual damages resulting from

 the breach of fiduciary duty” by Defendant, up to and including, the “amount of compensation or

 payments received from” the Hartford Funds as well as earnings that would have accrued to

 Plaintiffs had that compensation not been paid.

            178. Alternatively, the Plaintiffs seeks rescission of the Rule 12b-1 Distribution

 Plans and restitution of all fees paid pursuant thereto. See 15 U.S.C. § 80a-46(a-b) of the ICA.

 When a violation of the ICA has occurred, a court may order that the contracts between the

 Defendant and the Hartford Funds on behalf of the Hartford Funds be rescinded, thereby

 requiring restitution of all 12b-1 fees paid to it by the Hartford Funds from one year prior to the

 commencement of this action through the date of trial, together with interest, costs,




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 disbursements, attorneys’ fees, fees of expert witnesses, and such other items as may be allowed

 to the maximum permitted by law.

        WHEREFORE, Plaintiffs demand judgment as follows:

        (1) An order declaring that Defendant has violated and continues to violate ICA §§ 12,

 36(b) and Rule 12b-1 through the receipt of fees from the Hartford Funds that breach

 Defendant’s fiduciary duty with respect to the receipt of compensation.

        (2) An order preliminarily and permanently enjoining Defendant from further violations

 of the Investment Company Act.

        (3) An order awarding compensatory damages on behalf of the Hartford Funds against

 Defendant, including repayment of all unlawful and/or excessive fees paid to it by the Hartford

 Funds or their security holders from one year prior to the commencement of this action through

 the date of the trial of this case, together with interest, costs, disbursements, attorneys’ fees, fees

 of expert witnesses, and such other items as may be allowed to the maximum extent permitted by

 law. Plaintiff reserves the right to seek punitive damages where applicable.

        (4) An order rescinding the HMF HIFSCO Agreement and the HMFII HIFSCO

 Agreement between Defendant and the Count I Funds; and rescinding the Rule 12b-1

 Distribution Plans between the Defendant and the Hartford Funds, pursuant to 15 U.S.C. § 80a-

 46(b), including restitution of all investment management fees paid to Defendant by the Count I

 Funds and the 12b-1 fees paid to it by the Hartford Funds from a period commencing one year

 prior to the commencement of this action through the date of the trial of this case, together with

 interest, costs, disbursements, attorneys’ fees, fees of expert witnesses, and such other items as

 may be allowed to the maximum extent permitted by law.




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        (5) The Plaintiffs respectfully request a trial by jury for all issues above so triable.

        (6) Such other and further relief as may be just and proper under the circumstances.



 Dated: February 25, 2011

                                       Respectfully submitted,

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                                                TABLE I


       HARTFORD FINANCIAL SERVICES GROUP, INC.
                                                 HIG

                   HARTFORD FUNDS COMPLEX
       (including 5 investment management companies containing 88+ funds)



                           BOARDS OF DIRECTORS
                              SAME 9 PEOPLE
                            FOR ALL 88+ FUNDS
                                    (contained in 5 investment
                                     management companies)



                               DEFENDANT HIFSCO
                                     (wholly owned subsidiary of HIG)


               INVESTMENT ADVISER/MANAGER FOR ALL FUNDS
                       AT ISSUE IN THIS COMPLAINT

                • provides management and distribution services
                • collects management fees & 12b-1 fees




                HARTFORD MUTUAL
                   FUNDS, INC.                                   HARTFORD MUTUAL
                      HMF                                          FUNDS II, INC.
                       Advisers Fund
                                                                      HMFII
                     Global Health Fund
                     Inflation Plus Fund
                                                                   Growth Opportunities Fund
                 Conservative Allocation Fund
                     Money Market Fund




                                   HARTFORD HLS SERIES FUND II, INC.
                                      HARTFORD SERIES FUND, INC.
                                 HARTFORD INCOME SHARES FUND, INC.
                        (Hartford investment management companies with funds that are
                                         not at issue in this complaint)




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                                             TABLE II

                                                   HMF
                        open-end management investment company registered under the ICA


                  ADVISERS FUND                                 GLOBAL HEALTH FUND
   Adviser:         HIFSCO                                Adviser:          HIFSCO
                    Fees: Advisory                                          Fees: Advisory
                           12b-1                                                   12b-1
   Sub-adviser:     WELLINGTON                            Sub-adviser:      WELLINGTON
                    Fees: Sub-advisory (not                                 Fees: Sub-advisory (not
                    challenged in Complaint)                                challenged in Complaint)



                                                           CONSERVATIVE ALLOCATION
          INFLATION PLUS FUND
   Adviser:         HIFSCO
                                                                    FUND
                    Fees: Advisory                        Adviser:          HIFSCO
                                                                            Fees: Advisory
                           12b-1
                                                                                   12b-1
   Sub-adviser:     HIMCO
                    Fees: Sub-advisory (not               Sub-adviser:      HIMCO
                                                                            Fees: Sub-advisory (not
                    challenged in Complaint)
                                                                            challenged in Complaint)


                                     MONEY MARKET FUND
                              Adviser:          HIFSCO
                                                Fees: Advisory (not
                                                challenged in Complaint)
                                                       12b-1
                              Sub-adviser:      HIMCO
                                                Fees: Sub-advisory (not
                                                challenged in Complaint)




                                                 HMFII
                              open-end management investment company registered
                                              under the ICA



                               GROWTH OPPORTUNITIES FUND
                              Adviser:          HIFSCO
                                                Fees: Advisory
                                                       12b-1
                              Sub-Adviser:      WELLINGTON
                                                Fees: Sub-advisory (not
                                                challenged in Complaint)




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